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or with any methylene chloride con-
taining product:

(a) SDS Section 1.(c): “This chemical/
product is not and cannot be distrib-
uted in commerce (as defined in TSCA
section 3(5)) or processed (as defined in
TSCA section 3(13)) for consumer paint
or coating removal.”’

(b) SDS Section 15: “This chemical/
product is not and cannot be distrib-
uted in commerce (as defined in TSCA
section 3(5)) or processed (as defined in
TSCA section 3(13)) for consumer paint
or coating removal.”

§751.109 Recordkeeping.

(a) Each person who manufactures,
processes, or distributes in commerce
any methylene chloride after August
26, 2019 must retain in one location at
the headquarters of the company, or at
the facility for which the records were
generated, documentation showing:

(1) The name, address, contact, and
telephone number of companies to
whom methylene chloride was shipped;

(2) A copy of the notification pro-
vided under § 751.107; and

(3) The amount of methylene chloride
shipped.

(b) The documentation in paragraph
(a) of this section must be retained for
3 years from the date of shipment.

SubpartC [Reserved]

PART 761—POLYCHLORINATED
BIPHENYLS (PCBs) MANUFAC-
TURING, PROCESSING, DISTRIBU-
TION IN COMMERCE, AND USE
PROHIBITIONS

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761.2 PCB concentration assumptions for
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761.3 Definitions.

761.19 References.

Subpart B—Manufacturing, Processing, Dis-
tribution in Commerce, and Use of
PCBs and PCB Items

761.20 Prohibitions and exceptions.
761.30 Authorizations.
761.35 Storage for reuse.

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Items

761.40 Marking requirements.
761.45 Marking formats.

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761.60 Disposal requirements.

761.61 PCB remediation waste.

761.62 Disposal of PCB bulk product waste.

761.63 PCB household waste storage and dis-
posal.

761.64 Disposal of wastes generated as a re-
sult of research and development activi-
ties authorized under §761.30(j) and chem-
ical analysis of PCBs.

761.65 Storage for disposal.

761.70 Incineration.

761.71 High efficiency boilers.

761.72 Scrap metal recovery ovens and
smelters.

761.75 Chemical waste landfills,

761.77 Coordinated approval.

761.79 Decontamination standards and pro-
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761.80 Manufacturing, processing and dis-
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Subpart F—Transboundary Shipments of
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761.93 Import for disposal.

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761.120 Scope.

761.123 Definitions.

761.125 Requirements for PCB spill cleanup.

761.130 Sampling requirements.

761.185 Effect of compliance with this policy
and enforcement.

Subparis H-] [Reserved]

Subpart J—General Records and Reports

761.180 Records and monitoring.

761.185 Certification program and retention
of records by importers and persons g¢en-
erating PCBs in excluded manufacturing
processes.

761.187 Reporting importers and by persons
generating PCBs in excluded manufac-
turing processes.

761.198 Maintenance of monitoring records
by persons who import, manufacture,
process, distribute in commerce, or use
chemicals containing inadvertently gen-
erated PCBs.

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761.209 Number of copies of a manifest.

761.210 Use of the manifest—Generator re-
quirements.

761.211 Manifest saystem—Transporter re-
quirements.

761.212 Transporter compliance with the
manifest.

761.213 Use of manifest—Commercial stor-
age and disposal facility requirements.

761.214 Retention of manifest records.

761.215 Manifest discrepancies.

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761.217 Exception reporting.

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tion for Purposes of Abandonment or
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lecting Sample Sites, Collecting Sur-
face Samples, and Analyzing Standard
PCB Wipe Samples

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761.243 Standard wipe sample method and
size.

761.247 Sample site selection for pipe seg-
ment removal.

761.250 Sample site selection for pipeline
section abandonment.

761.253 Chemical analysis.

761.257 Determining the regulatory status
of sampled pipe.

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Sampling for PCB Remediation Waste
In Accordance with § 761.61(a)(2)

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761.265 Sampling bulk PCB remediation
waste and porous surfaces.

761.267 Sampling non-porous surfaces.

761.269 Sampling liquid PCB remediation
waste.

761.272 Chemical extraction and analysis of
samples.

761.274 Reporting PCB concentrations in
samples.

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ation Waste and Porous Surfaces in
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locations.

761.286 Sample size and procedure for col-
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761.289 Compositing samples.

761.292 Chemical extraction and analysis of
individual samples and composite sam-
ples.

761.295 Reporting and recordkeeping of the
PCE concentrations in samples.

761.298 Decisions based on PCB concentra-
tion measurements resulting from sam-

pling.

Subpart P—Sampling Non-Porous Surfaces
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ond On-Site or Off-Site Disposal Under
§761.61(a)(6) and Determination
Under § 761.79(b)(3)

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761.302 Proportion of the tota] surface area
to sample.

761.304 Determining sample location.

761.306 Sampling 1 meter square surfaces by
random selection of halves.

761.308 Sample selection by random number
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761.310 Collecting the sample.

761.312 Compositing of samples.

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and Sampling PCB Remediation Waste
Destined for Off-Site Disposal, in Ac-
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761.345 Form of the waste to be sampled.

761.346 Three levels of sampling.

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761.348 Contemporaneous sampling.

761.350 Subsampling from composite sam-

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761.353 Second level of sample selection.
761.355 Third level of sample selection.
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761.358 Determining the PCB concentration
of samples of waste.

761.359 Reporting the PCB concentrations in
samples.

Subpart S—Double Wash/Rinse Method for
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761.363 Applicability.

761.366 Cleanup equipment.

761.369 Pre-cleaning the surface.

761.872 Specific requirements for relatively
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761.375 Specific requirements for surfaces
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761.378 Decontamination, reuse, and dis-
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ment.

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761.389 Testing parameter requirements.

761.392 Preparing validation study samples.

761.395 A validation study.

761.398 Reporting and recordkeeping.

AUTHORITY: 15 U.S.C. 2605, 2607, 2611, 2614,

and 2616.

Source: 48 FR 7156, Feb. 17, 1978, unless
otherwise noted,

Subpart A—General

$761.1 Applicability.

(a) This part establishes prohibitions
of, and requirements for, the manufac-
ture, processing, distribution in com-
merce, use, disposal, storage, and
marking of PCBs and PCB Items.

(b)(1) This part applies to all persons
who manufacture, process, distribute
in commerce, use, or dispose of PCBs or
PCB Items, Substances that are regu-
lated by this part include, but are not
limited to: dielectric fluids; solvents;
oils; waste oils; heat transfer fluids;
hydraulic fluids; paints or coatings;
sludges; slurries; sediments; dredge
spoils; soils; materials containing PCBs
as a result of spills; and other chemical
substances or combinations of sub-

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stances, including impurities and by-
products and any byproduct, inter-
mediate, or impurity manufactured at
any point in a process.

(2) Unless otherwise noted, PCB con-
centrations shall be determined on a
weight-per-weight basis (e.g., milli-
grams per kilogram), or for liquids, on
a weight-per-volume basis (e.g., milli-
grams per liter) if the density of the
liquid is also reported. Unless other-
wise provided, PCBs are quantified
based on the formulation of PCBs
present in the material analyzed. For
example, measure Aroclor ™ 1242 PCBs
based on a comparison with Aroclor™
1242 standards. Measure individual con-
gener PCBs based on a comparison with
individual PCB congener standards.

(3) Most provisions in this part apply
only if PCBs are present in concentra-
tions above a specified level. Provi-
sions that apply to PCBs at concentra-
tions of <50 ppm apply also to contami-
nated surfaces at PCB concentrations
of <10 pg/100 cm?. Provisions that apply
to PCBs at concentrations of 250 to
<500 ppm apply also to contaminated
surfaces at PCB concentrations of >10/
100 cm? to <100 pe/100 cm?. Provisions
that apply to PCBs at concentrations
of 2500 ppm apply also to contaminated
surfaces at PCB concentrations of 2100
Lg/100 cm2,

(4) PCBs can be found in liquid, non-
liquid and multi-phasic (combinations
of liquid and non-liquid) forms. A per-
son should use the following criteria to
determine PCB concentrations to de-
termine which provisions of this part
apply to such PCBs.

(i) Any person determining PCB con-
centrations for non-liquid PCBs must
do so on a dry weight basis.

(ii) Any person determining PCB con-
centrations for liquid PCBs must do so
on a wet weight basis. Liquid PCBs
containing more than 0.5 percent by
weight non-dissolved material shall be
analyzed as multi-phasic non-liquid/lig-
uid mixtures.

(iii) Any person determining the PCB
concentration of samples containing
PCBs and non-dissolved non-liquid ma-
terials 20.5 percent, must separate the
non-dissolved materials into non-liquid
PCBs and liquid PCBs. For multi-pha-
sic non-liquid/liquid or liquid/liquid
mixtures, the phases shall be separated

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before chemical analysis. Following
phase separation, the PCB concentra-
tion in each non-liquid phase shall be
determined on a dry weight basis and
the PCB concentration in each liquid
phase shall be determined separately
on a wet weight basis.

(iv) Any person disposing of multi-
phasic non-liquid/liquid or liquid/liquid
mixtures must use the PCB disposal re-
quirements that apply to the indi-
vidual phase with the highest PCB con-
centration except where otherwise
noted. Alternatively, phases may be
separated and disposed of using the
PCB disposal requirements that apply
to each separated, single-phase mate-
rial.

(5) No person may avoid any provi-
sion specifying a PCB concentration by
diluting the PCBs, unless otherwise
specifically provided.

(6) Unless otherwise specified, ref-
erences to weights or volumes of PCBs
in this part apply to the total weight
or total volume of the material (oil,
soil, debris, etc.) that contains regu-
lated concentrations of PCBs, not the
calculated weight or volume of only
the PCB molecules contained in the
material.

(c) Definitions of the terms used in
these regulations are in subpart A. The
basic requirements applicable to dis-
posal and marking of PCBs and PCB
Items are set forth in subpart D—Dis-
posal of PCBs and PCB Items and in
subpart C—Marking of PCBs and PCB
Items. Prohibitions applicable to PCB
activities are set forth in subpart B—
Manufacture, Processing, Distribution
in Commerce, and Use of PCBs and
PCB Items. Subpart B also includes au-
thorizations from the prohibitions.
Subparts C and D set forth the specific
requirements for disposal and marking
of PCBs and PCB Items.

(d) Section 15 of the Toxic Sub-
stances Control Act (TSCA) states that
failure to comply with these .regula-
tions is unlawful. Section 16 imposes li-
ability for civil penalties upon any per-
son who violates these regulations, and
the Administrator can establish appro-
priate remedies for any violations sub-
ject to any limitations included in sec-
tion 16 of TSCA. Section 16 also sub-
jects a person to criminal prosecution
for a violation which is knowing or

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willful. In addition, section 17 author-
izes Federal district courts to enjoin
activities prohibited by these regula-
tions, compel the taking of actions re-
quired by these regulations, and issue
orders to seize PCBs and PCB Items
manufactured, processed or distributed
in violation of these regulations.

(e) These regulations do not preempt
other more stringent Federal statutes
and regulations.

(f) Unless and until superseded by
any new more stringent regulations
issued under EPA authorities, or any
permits or any pretreatment require-
ments issued by EPA, a state or local
government that affect release of PCBs
to any particular medium:

(1) Persons who inadvertently manu-
facture or import PCBs generated as
unintentional impurities in excluded
manufacturing processes, as defined in
§761.3, are exempt from the require-
ments of subpart B of this part, pro-
vided that such persons comply with
subpart J of this part, as applicable.

(2) Persons who process, distribute in
commerce, or use products containing
PCBs generated in excluded manufac-
turing processes defined in §761.8 are
exempt from the requirements of sub-
part B provided that such persons com-
ply with subpart J of this part, as ap-
plicable.

(3) Persons who process, distribute in
commerce, or use products containing
recycled PCBs defined in §761.3, are ex-
empt from the requirements of subpart
B of this part, provided that such per-
sons comply with subpart J of this
part, as applicable.

(4) Except as provided in §761.20 (d)
and (e), persons who process, distribute
in commerce, or use products con-
taining excluded PCB products as de-
fined in §761.3, are exempt from the re-
quirements of subpart B of this part.

(Sec, 6, Pub, L. 94-469, 90 Stat. 2020 (15 U.S.C.
2605)

[44 FR 31542, May 31, 1979, as amended at 49
FR 28189, July 10, 1984; 63 FR 24220, June 27,
1988; 63 FR 36436, June 29, 1998; 64 FR 33759,
June 24, 1999)

$761.2 PCB concentration assump-
tions for use.
(a)(1) Any person may assume that
transformers with <8 pounds (1.36 kilo-
grams (kgs)) of fluid, circuit breakers,

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reclosers, oil-filled cable, and rectifiers
whose PCB concentration is not estab-
lished contain PCBs at <50 ppm.

(2) Any person must assume that
mineral oil-filled electrical equipment
that was manufactured before July 2,
1979, and whose PCB concentration is
not established is PCB-Contaminated
Electrical Equipment (i.e., contains >=50
ppm PCB, but <500 ppm PCB). All pole-
top and pad-mounted distribution
transformers manufactured before July
2, 1979, must be assumed to be mineral-
oil filled. Any person may assume that
electrical equipment manufactured
after July 2, 1979, is non-PCB (i.e., <50
ppm PCBs). If the date of manufacture
of mineral oil-filled electrical equip-
ment is unknown, any person must as-
sume it to be PCB-Contaminated.

(3) Any person must assume that a
transformer manufactured prior to
July 2, 1979, that contains 1.36 kg (3
pounds) or more of fluid other than
mineral oil and whose PCB concentra-
tion is not established, is a PCB Trans-
former (i.e., 2500 ppm). If the date of
manufacture and the type of dielectric
fluid are unknown, any person must as-
sume the transformer to be a PCB
Transformer.

(4) Any person must assume that a
capacitor manufactured prior to July 2,
1979, whose PCB concentration is not
established contains 2500 ppm PCBs.
Any person may assume that a capac-
itor manufactured after July 2, 1979, is
non-PCB (i.e., <50 ppm PCBs). If the
date of manufacture is unknown, any
person must assume the capacitor con-
tains 2500 ppm PCBs. Any person may
assume that a capacitor marked at the
time of manufacture with the state-
ment ‘‘No PCBs’’ in accordance with
§761.40(g) is non-PCB.

(b) PCB concentration may be estab-
lished by:

(1) Testing the equipment; or

(2)4) A permanent label, mark, or
other documentation from the manu-
facturer of the equipment indicating
its PCB concentration at the time of
manufacture; and

(ii) Service records or other docu-
mentation indicating the PCB con-
centration of all fluids used in serv-

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icing the equipment since it was first
manufactured.

(63 FR 35436, June 29, 1998, as amended at 64
FR 33759, June 24, 1999)

$761.3 Definitions.

For the purpose of this part:

Administrator means the Adminis-
trator of the Environmental Protection
Agency, or any employee of the Agency
to whom the Administrator may either
herein or by order delegate his author-
ity to carry out his functions, or any
person who shall by operation of law be
authorized to carry out such functions.

Agency means the United States En-
vironmental Protection Agency.

Air compressor system means air com-
pressors, piping, receiver tanks, vol-
ume tanks and bottles, dryers, airlines,
and related appurtenances.

Annual document log means the de-
tailed information maintained at the
facility on the PCB waste handling at
the facility.

Annual report means the written doc-
ument submitted each year by each
disposer and commercial storer of PCB
waste to the appropriate EPA Regional
Administrator, The annual report is a
brief summary of the information in-
cluded in the annual document log.

ASTM means American Society for
Testing and Materials, 100 Barr Harbor
Drive, West Conshohocken, PA 19428-
2959.

Byproduct means a chemical sub-
stance produced without separate com-
mercial intent during the manufac-
turing or processing of another chem-
ical substance(s) or mixture(s).

Capacitor means a device for accumu-
lating and holding a charge of elec-
tricity and consisting of conducting
surfaces separated by a dielectric.
Types of capacitors are as follows:

(1) Small capacitor means a capacitor
which contains less than 1.36 kg (3 Ibs.)
of dielectric fluid. The following as-
sumptions may be used if the actual
weight of the dielectric fluid is un-
known. A capacitor whose total volume
is less than 1,639 cubic centimeters (100
cubic inches) may be considered to con-
tain less than 1.36 kgs (8 lbs.) of dielec-
tric fluid and a capacitor whose total
volume is more than 3,278 cubic centi-
meters (200 cubic inches) must be con-
sidered to contain more than 1.36 kg (8

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lbs.) of dielectric fluid. A capacitor
whose volume is between 1,639 and 3,278
cubic centimeters may be considered to
contain less then 1.36 kg (8 lbs.) of di-
electric fluid if the total weight of the
capacitor is less than 4.08 kg (9 Ibs.).

(2) Large high voltage capacitor means
a capacitor which contains 1.36 kg (3
lbs.) or more of dielectric fluid and
which operates at 2,000 volts (a.c. or
d.c.) or above.

(8) Large low voltage capacitor means a
capacitor which contains 1.36 kg (3 lbs.)
or more of dielectric fluid and which
operates below 2,000 volts (a.c. or d.c.).

CERCLA means the Comprehensive
Environmental Response, Compensa-
tion, and Liability Act (42 U.S.C. 9601-
9657).

Certification means a written state-
ment regarding a specific fact or rep-
resentation that contains the following
language:

Under civil and criminal penalties of law
for the making or submission of false or
fraudulent statements or representations (18
U.S.C. 1001 and 15 U.S.C. 2615), I certify that
the information contained in or accom-
panying this document is true, accurate, and
complete. As to the identified section(s) of
this document for which I cannot personally
verify truth and accuracy, I certify as the
company official having supervisory respon-
sibility for the persons who, acting under my
direct instructions, made the verification
that this information is true, accurate, and
complete.

Chemical substance, (1) except as pro-
vided in paragraph (2) of this defini-
tion, means any organic or inorganic
substance of a particular molecular
identity, including: Any combination
of such substances occurring in whole
or part as a result of a chemical reac-
tion or occurring in nature, and any
element or uncombined radical.

(2) Such term does not include: Any
mixture; any pesticide (as defined in
the Federal Insecticide, Fungicide, and
Rodenticide Act) when manufactured,
processed, or distributed in commerce
for use as a pesticide; tobacco or any
tobacco product; any source material,
special nuclear material, or byproduct
material (as such terms are defined in
the Atomic Energy Act of 1954 and reg-
ulations issued under such Act); any
article the sale of which is subject to
the tax imposed by section 4181 of the
Internal Revenue Code of 1954 (deter-

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mined without regard to any exemp-
tions from such tax provided by section
4182 or section 4221 or any provisions of
such Code); and any food, food additive,
drug, cosmetic, or device (as such
terms are defined in section 201 of the
Federal Food, Drug, and Cosmetic Act)
when manufactured, processed, or dis-
tributed in commerce for use as a food,
food additive, drug, cosmetic, or de-
vice.

Chemical waste landfill means a land-
fill at which protection against risk of
injury to health or the environment
from migration of PCBs to land, water,
or the atmosphere is provided from
PCBs and PCB Items deposited therein
by locating, engineering, and operating
the landfill as specified in §'761.75.

Cleanup site means the areal extent of
contamination and all suitable areas in
very close proximity to the contamina-
tion necessary for implementation of a
cleanup of PCB remediation waste, re-
gardiess of whether the site was in-
tended for management of waste.

Commerce means trade, traffic, trans-
portation, or other commerce:

(1) Between a place in a State and
any place outside of such State, or

(2) Which affects trade, traffic, trans-
portation, or commerce described in
paragraph (1) of this definition.

Commercial storer of PCB waste means
the owner or operator of each facility
that is subject to the PCB storage unit
standards of §761.65(b)(1) or (c)(7) or
meets the alternate storage criteria of
§761.65(b)(2), and who engages in stor-
age activities involving either PCB
waste generated by others or that was
removed while servicing the equipment
owned by others and brokered for dis-
posal. The receipt of a fee or any other
form of compensation for storage serv-
ices is not necessary to qualify as a
commercial storer of PCB waste. A
generator who only stores its own
waste is subject to the storage require-
ments of §761.65, but is not required to
obtain approval as a commercial stor-
er. If a facility’s storage of PCB waste
generated by others at no time exceeds
a total of 500 gallons of liquid and/or
non-ligquid material containing PCBs at
regulated levels, the owner or operator
is a commercial storer but is not re-
quired to seek EPA approval as a com-
mercial storer of PCB waste. Storage of

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one company’s PCB waste by a related
company is not considered commercial
storage. A “related company”’ includes,
but is not limited to: a parent company
and its subsidiaries; sibling companies
owned by the same parent company;
companies owned by a common holding
company; members of electric coopera-
tives; entities within the same Execu-
tive agency as defined at 5 U.S.C. 105;
and a company having a joint owner-
ship interest in a facility from which
PCB waste is generated (such as a
jointly owned electric power gener-
ating station) where the PCB waste is
stored by one of the co-owners of the
facility. A “related company” does not
include another voluntary member of
the same trade association. Change in
ownership or title of a generator’s fa-
cility, where the generator is storing
PCB waste, does not make the new
owner of the facility a commercial
storer of PCB waste.

Designated facility means the off-site
disposer or commercial storer of PCB
waste designated on the manifest as
the facility that will receive a mani-
fested shipment of PCB waste.

Disposal means intentionally or acci-
dentally to discard, throw away, or
otherwise complete or terminate the
useful life of PCBs and PCB Items. Dis-
posal includes spills, leaks, and other
uncontrolled discharges of PCBs as
well as actions related to containing,
transporting, destroying, degrading,
decontaminating, or confining PCBs
and PCB Items.

Disposer of PCB waste, as the term is
used in subparts J and K of this part,
means any person who owns or oper-
ates a facility approved by EPA for the
disposal of PCB waste which is regu-
lated for disposal under the require-
ments of subpart D of this part.

Distribute in commerce and Distribution
in Commerce when used to describe an
action taken with respect to a chem-
ical substance, mixture, or article con-
taining a substance or mixture means
to sell, or the sale of, the substance,
mixture, or article in commerce; to in-
troduce or deliver for introduction into
commerce, or the introduction or de-
livery for introduction into commerce
of the substance, mixture, or article; or
to hold or the holding of, the sub-

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stance, mixture, or article after its in-
troduction into commerce.

DOT means the United States De-
partment of Transportation.

Dry weight means the weight of the
sample, excluding the weight of the
water in the sample. Prior to chemical
analysis the water may be removed by
any reproducible method that is appli-
cable to measuring PCBs in the sample
matrix at the concentration of con-
cern, such as air drying at ambient
temperature, filtration, decantation,
heating at low temperature followed by
cooling in the presence of a desiccant,
or other processes or combinations of
processes which would remove water
but not remove PCBs from the sample.
Analytical procedures which calculate
the dry weight concentration by ad-
justing for moisture content may also
be used.

EPA identification number means the
12-digit number assigned to a facility
by EPA upon notification of PCB waste
activity under § 761.205.

Excluded manufacturing process means
a manufacturing process in which
quantities of PCBs, as determined in
accordance with the definition of inad-
vertently generated PCBs, calculated
as defined, and from which releases to
products, air, and water meet the re-
quirements of paragraphs (1) through
(5) of this definition, or the importa-
tion of products containing PCBs as
unintentional impurities, which prod-
ucts meet the requirements of para-
graphs (1) and (2) of this definition.

(1) The concentration of inadvert-
ently generated PCBs in products leav-
ing any manufacturing site or im-
ported into the United States must
have an annual average of less than 25
ppm, with a 50 ppm maximum.

(2) The concentration of inadvert-
ently generated PCBs in the compo-
nents of detergent bars leaving the
manufacturing site or imported into
the United States must be less than 5
ppm.

(3) The release of inadvertently gen-
erated PCBs at the point at which
emissions are vented to ambient air
must be less than 10 ppm.

(4) The amount of inadvertently gen-
erated PCBs added to water discharged
from a manufacturing site must be less
than 100 micrograms per resolvable gas

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chromatographic peak per liter of
water discharged,

(5) Disposal of any other process
wastes above concentrations of 50 ppm
PCB must be in accordance with sub-
part D of this part.

Excluded PCB products means PCB
materials which appear at concentra-
tions less than 50 ppm, including but
not limited to:

(1) Non-Aroclor inadvertently gen-
erated PCBs as a byproduct or impu-
rity resulting from a chemical manu-
facturing process.

(2) Products contaminated with
Aroclor or other PCB materials from
historic PCB uses (investment casting
waxes are one example).

(8) Recycled fluids and/or equipment
contaminated during use involving the
products described in paragraphs (1)
and (2) of this definition (heat transfer
and hydraulic fluids and equipment and
other electrical equipment components
and fluids are examples).

(4) Used oils, provided that in the
cases of paragraphs (1) through (4) of
this definition:

(i) The products or source of the
products containing <50 ppm con-
centration PCBs were legally manufac-
tured, processed, distributed in com-
merce, or used before October 1, 1984.

(ii) The products or source of the
products containing <50 ppm _ con-
centrations PCBs were legally manu-
factured, processed, distributed in com-
merce, or used, i.e., pursuant to au-
thority granted by EPA regulation, by
exemption petition, by settlement
agreement, or pursuant to other Agen-
cy-approved programs;

(iii) The resulting PCB concentration
(i.e. below 50 ppm) is not a result of di-
lution, or leaks and spills of PCBs in
concentrations over 50 ppm.

Facility means all contiguous land,
and structures, other appurtenances,
and improvements on the land, used for
the treatment, storage, or disposal of
PCB waste. A facility may consist of
one or more treatment, storage, or dis-
posal units.

Fluorescent light ballast means a de-
vice that electrically controls fluores-
cent light fixtures and that includes a
capacitor containing 0.1 kg or less of
dielectric.

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Generator of PCB waste means any
person whose act or process produces
PCBs that are regulated for disposal
under subpart D of this part, or whose
act first causes PCBs or PCB Items to
become subject to the disposal require-
ments of subpart D of this part, or who
has physical control over the PCBs
when a decision is made that the use of
the PCBs has been terminated and
therefore is subject to the disposal re-
quirements of subpart D of this part.
Unless another provision of this part
specifically requires a _ site-specific
meaning, ‘generator of PCB waste”’ in-
cludes all of the sites of PCB waste
generation owned or operated by the
person who generates PCB waste.

High occupancy area means any area
where PCB remediation waste has been
disposed of on-site and where occu-
pancy for any individual not wearing
derma] and respiratory protection for a
calendar year is: 840 hours or more (an
average of 16.8 hours or more per week)
for non-porous surfaces and 335 hours
or more (an average of 6.7 hours or
more per week) for bulk PCB remedi-
ation waste. Examples could include a
residence, school, day care center,
sleeping quarters, a single or multiple
occupancy 40 hours per week work sta-
tion, a school class room, a cafeteria in
an industrial facility, a control room,
and a work station at an assembly line.

Importer means any person defined as
an “importer” at §720.3(1) of this chap-
ter who imports PCBs or PCB Items
and is under the jurisdiction of the
United States.

Impurity Means a chemical substance
which is unintentionally present with
another chemica] substance.

In or Near Commercial Buildings means
within the interior of, on the roof of,
attached to the exterior wall of, in the
parking area serving, or within 80 me-
ters of a non-industrial non-substation
building. Commercial buildings are
typically accessible to both members
of the genera] public and employees,
and include: (1) Public assembly prop-
erties, (2) educational properties, (3) in-
stitutional properties, (4) residential
properties, (5) stores, (6) office build-
ings, and (7) transportation centers
(e.g., airport terminal buildings, sub-
way stations, bus stations, or train sta-
tions).

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Incinerator means an engineered de-
vice using controlled flame combustion
to thermally degrade PCBs and PCB
Items. Examples of devices used for in-
cineration include rotary kilns, liquid
injection incinerators, cement kilns,
and high temperature boilers.

Industrial building means a building
directly used in manufacturing or tech-
nically productive enterprises. Indus-
trial buildings are not generally or
typically accessible to other than
workers. Industrial buildings include
buildings used directly in the produc-
tion of power, the manufacture of prod-
ucts, the mining of raw materials, and
the storage of textiles, petroleum prod-
ucts, wood and paper products, chemi-
cals, plastics, and metals.

Laboratory means a facility that ana-
lyzes samples for PCBs and is unaffili-
ated with any entity whose activities
involve PCBs.

Leak or leaking means any instance
in which a PCB Article, PCB Con-
tainer, or PCB Equipment has any
PCBs on any portion of its external
surface.

Liquid PCBs means a homogenous
flowable material containing PCBs and
no more than 0.5 percent by weight
non-dissolved material.

Low occupancy area means any area
where PCB remediation waste has been
disposed of on-site and where occu-
pancy for any individual not wearing
dermal and respiratory protection for a
calendar year is: less than 840 hours (an
average of 16.8 hours per week) for non-
porous surfaces and less than 335 hours
(an average of 6.7 hours per week) for
bulk PCB remediation waste. Examples
could include an electrical substation
or a location in an industrial facility
where a worker spends small amounts
of time per week (such as an unoccu-
pied area outside a building, an elec-
trical equipment vault, or in the non-
office space in a warehouse where occu-
pancy is transitory).

Manifest means the shipping docu-
ment EPA form 8700-22 and any con-
tinuation sheet attached to EPA form
700-22, originated and signed by the
generator of PCB waste in accordance
with the instructions included with the
form and subpart K of this part.

Manned Control Center means an elec-
trical power distribution control room

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where the operating conditions of a
PCB Transformer are continuously
monitored during the normal hours of
operation (of the facility), and, where
the duty engineers, electricians, or
other trained personnel have the capa-
bility to deenergize a PCB Transformer
completely within 1 minute of the re-
ceipt of a signal indicating abnormal
operating conditions such as an over-
temperature condition or overpressure
condition in a PCB Transformer.

Manufacture means to produce, man-
ufacture, or import into the customs
territory of the United States.

Manufacturing process means all of a
series of unit operations operating at a
site, resulting in the production of a
product.

Mark means the descriptive name, in-
structions, cautions, or other informa-
tion applied to PCBs and PCB Items, or
other objects subject to these regula-
tions.

Marked means the marking of PCB
Items and PCB storage areas and trans-
port vehicles by means of applying a
legible mark by painting, fixation of an
adhesive label, or by any other method
that meets the requirements of these
regulations.

Market/Marketers means the proc-
essing or distributing in commerce, or
the person who processes or distributes
in commerce, used oil fuels to burners
or other marketers, and may include
the generator of the fuel if it markets
the fuel directly to the burner.

Mineral Oil PCB Transformer means
any transformer originally designed to
contain mineral oil as the dielectric
fluid and which has been tested and
found to contain 500 ppm or greater
PCBs.

Miziure means any combination of
two or more chemical substances if the
combination does not occur in nature
and is not, in whole or in part, the re-
sult of a chemical reaction; except that
such term does include any combina-
tion which occurs, in whole or in part,
as a result of a chemical reaction if
none of the chemical substances com-
prising the combination is a new chem-
ical substance and if the combination
could have been manufactured for com-
mercial purposes without a chemical

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reaction at the time the chemical sub-
stances comprising the combination
were combined.

Municipal solid wastes means garbage,
refuse, sludges, wastes, and other dis-
carded materials resulting from resi-
dential and non-industrial operations
and activities, such as household ac-
tivities, office functions, and commer-
cial housekeeping wastes.

Natural gas pipeline system means nat-
ural gas gathering facilities, natural
gas pipe, natural gas compressors, nat-
ural gas storage facilities, and natural
gas pipeline appurtenances (including
instrumentation and vessels directly in
contact with transported natural gas
such as valves, regulators, drips, filter
separators, etc., but not including air
compressors).

Non-liguid PCBs means materials con-
taining PCBs that by visual inspection
do not flow at room temperature (25 °C
or T7 °F) or from which no liquid passes
when a 100 g or 100 ml representative
sample is placed in a mesh number 60
+5 percent paint filter and allowed to
drain at room temperature for 5 min-
utes.

Non-PCB Transformer means any
transformer that contains less than 50
ppm POB; except that any transformer
that has been converted from a PCB
Transformer or a PCB-Contaminated
Transformer cannot be classified as a
non-PCB Transformer until reclassi-
fication has occurred, in accordance
with the requirements of
§761.30(a)(2)(v).

Non-porous surface means a smooth,
unpainted solid surface that limits pen-
etration of liquid containing PCBs be-
yond the immediate surface. Examples
are: smooth uncorroded metal; natural
gas pipe with a thin porous coating
originally applied to inhibit corrosion;
smooth glass; smooth glazed ceramics;
impermeable polished building stone
such as marble or granite; and high
density plastics, such as
polycarbonates and melamines, that do
not absorb organic solvents.

NTIS means the National Technical
Information Service, U.S. Department
of Commerce, 5285 Port Royal Rd.,
Springfield, VA 22161.

On site means within the boundaries
of a contiguous property unit.

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Open burning means the combustion
of any PCB regulated for disposal, in a
manner not approved or otherwise al-
lowed under subpart D of this part, and
without any of the following:

(1) Control of combustion air to
maintain adequate temperature for ef-
ficient combustion.

(2) Containment of the combustion
reaction in an enclosed device to pro-
vide sufficient residence time and mix-
ing for complete combustion.

(3) Control of emission of the gaseous
combustion products.

PCB and PCBs means any chemical
substance that is limited to the
biphenyl molecule that has been
chlorinated to varying degrees or any
combination of substances which con-
tains such substance. Refer to §761.1(b)
for applicable concentrations of PCBs.
PCB and PCBs as contained in PCB
items are defined in §761.3. For any
purposes under this part, inadvertently
generated non-Aroclor PCBs are de-
fined as the total PCBs calculated fol-
lowing division of the quantity of
monochlorinated biphenyls by 50 and
dichlorinated biphenyls by 5.

PCB Article means any manufactured
article, other than a PCB Container,
that contains PCBs and whose sur-
face(s) has been in direct contact with
PCBs. ‘PCB Article’’ includes capaci-
tors, transformers, electric motors,
pumps, pipes and any other manufac-
tured item (1) which is formed to a spe-
cific shape or design during manufac-
ture, (2) which has end use function(s)
dependent in whole or in part upon its
shape or design during end use, and (3)
which has either no change of chemical
composition during its end use or only
those changes of composition which
have no commercial purpose separate
from that of the PCB Article.

PCB Article Container means any
package, can, bottle, bag, barrel, drum,
tank, or other device used to contain
PCB Articles or PCB Equipment, and
whose surface(s) has not been in direct
contact with PCBs.

PCB bulk product waste means waste
derived from manufactured products
containing PCBs in a non-liquid state,
at any concentration where the con-
centration at the time of designation
for disposal was 250 ppm PCBs. PCB
bulk product waste does not include

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PCBs or PCB Items regulated for dis-
posal under §761.60(a) through (c),
§761.61, §761.63, or §761.64. PCB bulk
product waste includes, but is not lim-
ited to:

(1) Non-liquid bulk wastes or debris
from the demolition of buildings and
other man-made structures manufac-
tured, coated, or serviced with PCBs.
PCB bulk product waste does not in-
clude debris from the demolition of
buildings or other man-made struc-
tures that is contaminated by spills
from regulated PCBs which have not
been disposed of, decontaminated, or
otherwise cleaned up in accordance
with subpart D of this part.

(2) PCB-containing wastes from the
shredding of automobiles, household
appliances, or industrial appliances.

(3) Plastics (such as plastic insula-
tion from wire or cable; radio, tele-
vision and computer casings; vehicle
parts; or furniture laminates);
preformed or molded rubber parts and
components; applied dried paints, var-
nishes, waxes or other similar coatings
or sealants; caulking; adhesives; paper;
Galbestos; sound deadening or other
types of insulation; and felt or fabric
products such as gaskets.

(4) Fluorescent light ballasts con-
taining PCBs in the potting material.

PCB Capacitor means any capacitor
that contains 2500 ppm PCB. Con-
centration assumptions applicable to
capacitors appear under §761.2.

PCB Container means any package,
can, bottle, bag, barrel, drum, tank, or
other device that contains PCBs or
PCB Articles and whose surface(s) has
been in direct contact with PCBs.

PCB-Contaminated means a non-liquid
material containing PCBs at con-
centrations 250 ppm but <500 ppm; a
liquid material containing PCBs at
concentrations 250 ppm but <500 ppm or
where insufficient liquid material is
available for analysis, a non-porous
surface having a surface concentration
>10 pwg/100 cm? but <100 pg/100 cm:?,
measured by a standard wipe test as
defined in § 761.123.

PCB-Contaminated Electrical Equip-
ment means any electrical equipment
including, but not limited to, trans-
formers (including those used in rail-
way locomotives and _ self-propelled
cars), capacitors, circuit breakers, re-

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closers, voltage regulators, switches
(ineluding sectionalizers and motor
starters), electromagnets, and cable,
that contains PCBs at concentrations
of 250 ppm and <500 ppm in the con-
taminating fluid. In the absence of liq-
uids, electrical equipment is PCB-Con-
taminated if it has PCBs at >10 pg/100
cm? and <100 p1g/100 cm? as measured by
a standard wipe test (as defined in
§761.123) of a non-porous surface.

PCB Equipment means any manufac-
tured item, other than a PCB Con-
tainer or a PCB Article Container,
which contains a PCB Article or other
PCB Equipment, and includes micro-
wave ovens, electronic equipment, and
fluorescent light ballasts and fixtures.

PCB field screening test means a port-
able analytical device or kit which
Measures PCBs. PCB field screening
tests usually report less than or great-
er than a specific numerical PCB con-
centration. These tests normally build
in a safety factor which increases the
probability of a false positive report
and decreases the probability of a false
negative report. PCB field screening
tests do not usually provide: an iden-
tity record generated by an instru-
ment; a quantitative comparison
record from calibration standards; any
identification of PCBs; and/or any indi-
cation or identification of inter-
ferences with the measurement of the
PCBs. PCB field screening test tech-
nologies include, but are not limited
to, total chlorine colorimetric tests,
total chlorine x-ray fluorescence tests,
total chlorine microcoulometric tests,
and rapid immunoassay tests.

PCB household waste means PCB
waste that is generated by residents on
the premises of a temporary or perma-
nent residence for individuals (includ-
ing individually owned or rented units
of a multi-unit construction), and that
is composed primarily of materials
found in wastes generated by con-
sumers in their homes. PCB household
waste includes unwanted or discarded
non-commercial vehicles (prior to
shredding), household items, and appli-
ances or appliance parts and wastes
generated on the premises of a resi-
dence for individuals as a result of rou-
tine household maintenance by or on

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behalf of the resident. Bulk or commin-
gled liquid PCB wastes at concentra-
tions of 250 ppm, demolition and ren-
ovation wastes, and industrial or heavy
duty equipment with PCBs are not
household wastes.

PCB Item means any PCB Article,
PCB Article Container, PCB Container,
PCB Equipment, or anything that de-
liberately or unintentionally contains
or has as a part of it any PCB or PCBs.

PCByfradioactive waste means PCBs
regulated for disposal under subpart D
of this part that also contain source,
special nuclear, or byproduct material
subject to regulation under the Atomic
Energy Act of 1954, as amended, or nat-
urally-occurring or accelerator-pro-
duced radioactive material,

PCB remediation waste means waste
containing PCBs as a result of a spill,
release, or other unauthorized disposal,
at the following concentrations: Mate-
rials disposed of prior to April 18, 1978,
that are currently at concentrations
250 ppm PCBs, regardless of the con-
centration of the original spill; mate-
rials which are currently at any vol-
ume or concentration where the origi-
nal source was 2500 ppm PCBs begin-
ning on April 18, 1978, or 250 ppm PCBs
beginning on July 2, 1979; and mate-
rials which are currently at any con-
centration if the PCBs are spilled or re-
leased from a2 source not authorized for
use under this part. PCB remediation
waste means soil, rags, and other de-
bris generated as a result of any PCB
spill cleanup, including, but not lim-
ited to:

(1) Environmental media containing
PCBs, such as soil and gravel; dredged
materials, such as sediments, settled
sediment fines, and aqueous decantate
from sediment.

(2) Sewage sludge containing <50 ppm
PCBs and not in use according to
§761.20(a)(4); PCB sewage sludge; com-
mercial or industrial sludge contami-
nated as the result of a spill of PCBs
including sludges located in or re-
moved from any pollution control de-
vice; aqueous decantate from an indus-
trial sludge.

(3) Buildings and other man-made
structures (such as concrete floors,
wood floors, or walls contaminated
from a leaking PCB or PCB-Contami-

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nated Transformer), porous surfaces,
and non-porous surfaces.

PCB sewage sludge means sewage
sludge as defined in 40 CFR 503.9(w)
which contains >50 ppm PCRs, as meas-
ured on a dry weight basis.

PCB Transformer means any trans-
former that contains 2500 ppm PCBs.
For PCB concentration assumptions
applicable to transformers containing
1.36 kilograms (3 lbs.) or more of fluid
other than mineral oil, see §761.2. For
provisions permitting reclassification
of electrical equipment, including PCB
Transformers, containing 2500 ppm
PCBs to PCB-Contaminated Electrical
Equipment, see §761.30(a) and (h).

PCB waste(s) means those PCBs and
PCB Items that are subject to the dis-
posal requirements of subpart D of this
part.

Performance-based organic decon-
tamination fluid (PODF) means ker-
osene, diesel fuel, terpene hydro-
carbons, and terpene hydrocarbon/alco-
hol mixtures.

Person means any natural or judicial
person including any individual, cor-
poration, partnership, or association;
any State or political subdivision
thereof: any interstate body; and any
department, agency, or instrumen-
tality of the Federal Government.

Porous surface means any surface
that allows PCBs to penetrate or pass
into itself including, but not limited
to, paint or coating on metal; corroded
metal; fibrous glass or glass wool;
unglazed ceramics; ceramics with a po-
rous glaze; porous building stone such
as sandstone, travertine, limestone, or
coral rock; low-density plastics such as
styrofoam and low-density  poly-
ethylene; coated (varnished or painted)
or uncoated wood; concrete or cement;
plaster; plasterboard; wallboard; rub-
ber; fiberboard; chipboard; asphalt; or
tar paper. For purposes of cleaning and
disposing of PCB remediation waste,
porous surfaces have different require-
ments than non-porous surfaces.

Posing an exposure risk to food or feed
means being in any location where
human food or animal feed products
could be exposed to PCBs released from
a PCB Item. A PCB Item poses an expo-
sure risk to food or feed if PCBs re-
leased in any way from the PCB Item
have a potential pathway to human

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food or animal feed, EPA considers
human food or animal feed to include
items regulated by the U.S. Depart-
ment of Agriculture or the Food and
Drug Administration as human food or
animal feed; this includes direct addi-
tives. Food or feed is excluded from
this definition if it is used or stored in
private homes.

Process means the preparation of a
chemical substance or mixture, after
its manufacture, for distribution in
commerce:

(1) In the same form or physical state
as, or in a different form or physical
state from, that in which it was re-
ceived by the person so preparing such
substance or mixture, or

(2) As part of an article containing
the chemical substance or mixture.

Qualified incinerator means one of the
following:

(1) An incinerator approved under the
provisions of §761.70. Any level of PCB
concentration can be destroyed in an
incinerator approved under §761.70.

(2) A high efficiency boiler which
complies with the criteria of
§761.71(a)(1), and for which the operator
has given written notice to the appro-
priate EPA Regional Administrator in
accordance with the notification re-
quirements for the burning of mineral
oil dielectric fluid under §761.71(a)(2).

(3) An incinerator approved under
section 3005(c) of the Resource Con-
servation and Recovery Act (42 U.S.C.
6925(c)) (RCRA).

(4) Industrial furnaces and boilers
which are identified in 40 CFR 260.10
and 40 CFR 279.61 (a)(1) and (2) when op-
erating at their normal operating tem-
peratures (this prohibits feeding fluids,
above the level of detection, during ei-
ther startup or shutdown operations).

Quantifiable Level/Level af Detection
means 2 micrograms per gram from
any resolvable gas chromatographic
peak, i.e. 2 ppm.

RCRA means the Resource Conserva-
tion and Recovery Act (40 U.8.C. 6901 et
seq.).

Recycled PCBs means those PCBs
which appear in the processing of paper
products or asphalt roofing materials
from PCB-contaminated raw materials.
Processes which recycle PCBs must
meet the following requirements:

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(1) There are no detectable con-
centrations of PCBs in asphalt roofing
material products leaving the proc-
essing site.

(2) The concentration of PCBs in
paper products leaving any manufac-
turing site processing paper products,
or in paper products imported into the
United States, must have an annual av-
erage of less than 25 ppm with a 50 ppm
maximum.

(3) The release of PCBs at the point
at which emissions are vented to ambi-
ent air must be less than 10 ppm.

(4) The amount of Aroclor PCBs
added to water discharged from an as-
phalt roofing processing site must at
all times be less than 3 micrograms per
liter (ug/L) for total Aroclors (roughly
3 parts per billion (8 ppb)). Water dis-
charges from the processing of paper
products must at all times be less than
8 micrograms per liter (ug/L) for total
Aroclors (roughly 3 ppb), or comply
with the equivalent mass-based limita-
tion,

(5) Disposal of any other process
wastes at concentrations of 50 ppm or
greater must be in accordance with
subpart D of this part.

Research and development (R&D) for
PCB disposal means demonstrations for
commercial PCB disposal approvals,
pre-demonstration tests, tests of major
modifications to previously approved
PCB disposal technologies, treatability
studies for PCB disposal technologies
which have not been approved, develop-
ment of new disposal technologies, and
research on chemical transformation
processes including, but not limited to,
biodegradation.

Retrofill means to remove PCB or
PCB-contaminated dielectric fluid and
to replace it with either PCB, PCB-con-
taminated, or non-PCB dielectric fluid.

Rupture of a PCB Transformer means a
violent or non-violent break in the in-
tegrity of a PCB Transformer caused
by an overtemperature and/or over-
pressure condition that results in the
release of PCBs.

Sale for purposes other than resale
means sale of PCBs for purposes of dis-
posal and for purposes of use, except
where use involves sale for distribution
in commerce. PCB Equipment which is
first leased for purposes of use any

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time before July 1, 1979, will be consid-
ered sold for purposes other than re-
sale.

Sewage sludge means sewage sludge as
defined in §503.9(w) of this chapter that
contains <50 ppm (on a dry weight
basis) PCBs.

Smail quantities for research and devel-
opment means any quantity of PCBs (1)
that is originally packaged in one or
more hermetically sealed containers of
a volume of no more than five (5.0) mil-
liliters, and (2) that is used only for
purposes of scientific experimentation
or analysis, or chemical research on, or
analysis of, PCBs, but not for research
or analysis for the development of a
PCB product.

Soil washing means the extraction of
PCBs from soil using a solvent, recov-
ering the solvent from the soil, sepa-
rating the PCBs from the recovered
solvent for disposal, and then disposal
or reuse of the solvent.

Standard wipe sample means a sample
collected for chemical extraction and
analysis using the standard wipe test
as defined in §'761.123. Except as des-
ignated elsewhere in part 761, the min-
imum surface area to be sampled shall
be 100 cm?.

Storage for disposal means temporary
storage of PCBs that have been des-
ignated for disposal.

SW-846 means the document having
the title “‘SW-846, Test Methods for
Evaluating Solid Waste,"’ which is
available from either the National
Technical Information Service (NTIS,
U.S. Department of Commerce, 5285
Port Royal Rd., Springfield, VA 22161,
telephone: (703) 487-4650 or the U.S.
Government Printing Office (U.S. GPO,
710 North Capitol St., NW., Wash-
ington, DC 20401, telephone: (202) '783-
3238.

Totally enclosed manner means any
manner that will ensure no exposure of
human beings or the environment to
any concentration of PCBs.

Transfer facility means any transpor-
tation-related facility including load-
ing docks, parking areas, and other
similar areas where shipments of PCB
waste are held during the normal
course of transportation. Transport ve-
hicles are not transfer facilities under
this definition, unless they are used for
the storage of PCB waste, rather than

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for actual transport activities. Storage
areas for PCB waste at transfer facili-
ties are subject to the storage facility
standards of §761.65, but such storage
areas are exempt from the approval re-
quirements of §761.65(d) and the record-
keeping requirements of §761.180, un-
less the same PCB waste is stored there
for a period of more than 10 consecu-
tive days between destinations.

Transporter of PCB waste means, for
the purposes of subpart K of this part,
any person engaged in the transpor-
tation of regulated PCB waste by air,
rail, highway, or water for purposes
other than consolidation by a gener-
ator.

Transport vehicle means a motor vehi-
cle or rail car used for the transpor-
tation of cargo by any mode. Hach
cargo-carrying body (e.g., trailer, rail-
road freight car) is a separate trans-
port vehicle.

Treatability Study means a study in
which PCB waste is subjected to a
treatment process to determine:

(1) Whether the waste is amenable to
the treatment process;

(2) What pretreatment (if any) is re-
quired;

(3) The optimal process conditions
needed to achieve the desired treat-
ment;

(4) The efficiency of a treatment
process for the specific type of waste
(i.e., soil, sludge, liquid, etc.); or,

(5) The characteristics and volumes
of residuals from a particular treat-
ment process. A “‘treatability study” is
not a mechanism to commercially
treat or dispose of PCB waste. Treat-
ment is a form of disposal under this
part.

TSCA means the Toxic Substances
Control Act (15 U.S.C. 2601 et seq.).

TSCA PCB Coordinated Approval
means the process used to recognize
other Federal or State waste manage-
ment documents governing the storage,
cleanup, treatment, and disposal of
PCB wastes. It is the mechanism under
TSCA for accomplishing review, co-
ordination, and approval of PCB waste
management activities which are con-
ducted outside of the TSCA PCB ap-
proval process, but require approval
under the TSCA PCB regulations at 40
CFR part 761.

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Unit means a particular building,
structure, or cell used to manage PCB
waste (including, but not limited to, a
building used for PCB waste storage, a
landfill, an industrial boiler, or an in-
cinerator).

U.S. GPO means the U.S. Government
Printing Office, 710 North Capitol St.,
NW., Washington, DC 20401.

Waste Oil means used products pri-
marily derived from petroleum, which
include, but are not limited to, fuel
oils, motor oils, gear oils, cutting oils,
transmission fluids, hydraulic fluids,
and dielectric fluids.

Wet weight means reporting chemical
analysis results by including either the
weight, or the volume and density, of
all liquids.

(Sec. 6, Pub. L. 94-469, 90 Stab. 2020 (15 U.S.C.
)

(49 FR 25239, June 20, 1984, as amended at 49
FR 28189, July 10, 1984; 49 FR 29066, July 18,
1984; 49 FR 44638, Nov. 6, 1984; 50 FR 29199,
July 17, 1985; 50 FR 32176, Aug. 9, 1985; 53 FR
24220, June 27, 1988; 53 FR 27827, July 19, 1988;
54 FR 52745, Dec. 21, 1989; 55 FR 26205, June
27, 1990; 58 FR 32061, June 8, 1998; 61 FR 11106,
Mar. 18, 1996; 68 FR 35437, June 29, 1998; 64 FR
39759, June 24, 1999]

§'761.19 References.

The materials listed in this section
are incorporated by reference into this
part with the approval of the Director
of the Federal Register under 5 U.S.C.
552(a) and 1 CFR part 51. To enforce
any edition other than that specified in
this section, a document must be pub-
lished in the FEDERAL REGISTER and
the material must be available to the
public. All: approved materials are
available for inspection at the OPPT
Docket in the EPA Docket Center
(EPA/DC) at Rm. 3334, EPA West Bldg.,
1801 Constitution Ave., NW., Wash-
ington, DC, The EPA/DC Public Read-
ing Room hours of operation are 8:30
a.m. to 4:30 p.m., Monday through Fri-
day, excluding legal holidays. The tele-
phone number of the EPA/DC Public
Reading Room is (202) 566-1744, and the
telephone number for the OPPT Docket
is (202) 566-0280. These approved mate-
Tials are also available for inspection
at the National Archives and Records
Administration (NARA). For informa-
tion on the availability of this mate-
rial at NARA, call (202) 741-6030 or go

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to http:/Aoww.archives.gov/
federal_ register/
code_of_federal_regulations/
ibr_locations.html. In addition, these
materials are available from the
sources listed below.

(a) ASTM materials. Copies of these
materials may be obtained from ASTM
International, 100 Barr Harbor Dr., P.O.
Box C700, West Conshohocken, PA
19428-2959, or by calling (877) 909-ASTM,
or at hitp-/www.astm.org.

(1) ASTM D93-09 (Approved December
15, 2009), Standard Test Methods for
Flash Point by Pensky-Martens Closed
Tester, IBR approved for §§761.71,
761.75.

(2) ASTM D129-64 (Reapproved 1978),
Standard Test Method for Sulfur in Pe-
troleum Products (General Bomb Meth-
od), IBR approved for § 761.71.

(3) ASTM 0240-87, Standard Test
Method for Heat of Combustion of Lig-
uid Hydrocarbon Fuel by Bomb Calo-
rimeter, IBR approved for §761.71.

(4) ASTM 0482-87, Standard Test
Method for Ash from Petroleum Prod-
ucts, IBR approved for § 761.71.

(5) ASTM 0D524-88, Standard Test
Method for Ramsbottom Carbon Res-
idue of Petroleum Products, IBR ap-
proved for § 761.71.

(6) ASTM 0808-87, Standard Test
Method for Chlorine in New and Used
Petroleum Products (Bomb Method),
IBR approved for § 761.71.

(7) ASTM 0923-86, Standard Test
Method for Sampling Electrical Insu-
lating Liquids, IBR approved for
§'761.60.

(8) ASTM D923-89, Standard Methods
of Sampling Electrical Insulating Liq-
uids, IBR approved for §761.60.

(9) ASTM D1266-87, Standard Test
Method for Sulfur in Petroleum Prod-
ucts (Lamp Method), IBR approved for
§ 761.71.

(10) ASTM Di796-83 (Reapproved
1990), Standard Test Method for Water
and Sediment in Fuel Oils by the Cen-
trifuge Method (Laboratory Proce-
dure), IBR approved for §761.71.

(11) ASTM D2158-89, Standard Test
Method for Residues in Liquified Pe-
troleum (LP) Gases, IBR approved for
§ 761.71.

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(12) ASTM D2709-88, Standard Test
Method for Water and Sediment in Dis-
tillate Fuels by Centrifuge, IBR ap-
proved for §761.71.

(13) ASTM D2784-89, Standard Test
Method for Sulfur in Liquified Petro-
leum Gases (Oxy-hydrogen Burner or
Lamp), IBR approved for §761.71,

(14) ASTM D3178-84, Standard Test
Methods for Carbon and Hydrogen in
the Analysis Sample of Coke and Coal,
IBR approved for § 761.71.

(15) ASTM D8278-89, Standard Test
Methods for Flash Point of Liquids by
Setaflash Closed-Cup Apparatus, IBR
approved for § 761.75.

(16) ASTM E258-67 (Reapproved 1987),
Standard Test Method for Total Nitro-
gen Inorganic Material by Modified
KJELDAHL Method, IBR approved for
§ 761.71.

(b) [Reserved]

(77 FR 2463, Jan. 18, 2012)

Subpart B—Manufacturing, Proc-
essing, Distribution in Com-
merce, and Use of PCBs and
PCB Items

$761.20 Prohibitions and exceptions.

Except as authorized in §761.30, the
activities listed in paragraphs (a) and
(d) of this section are prohibited pursu-
ant to section 6(e)(2) of TSCA. The re-
quirements set forth in paragraph (c) of
this section and subpart F of this part
concerning export and import of PCBs
and PCB Items for disposal are estab-
lished pursuant to section 6(e)(1) of
TSCA. Subject to any exemptions
granted pursuant to section 6(e)(3)(B)
of TSCA, the activities listed in para-
graphs (b) and (c) of this section are
prohibited pursuant to section
(6)(e(3\(A) of TSCA. In addition, the
Administrator hereby finds, under the
authority of section 12(a)(2) of TSCA,
that the manufacture, processing, and
distribution in commerce of PCBs at
concentrations of 50 ppm or greater
and PCB Items with PCB concentra-
tions of 50 ppm or greater present an
unreasonable risk of injury to health
within the United States. This finding
is based upon the well-documented
human health and environmental haz-
ard of PCB exposure, the high prob-
ability of human and environmental

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exposure to PCBs and PCB Items from
manufacturing, processing, or distribu-
tion activities; the potential hazard of
PCB exposure posed by the transpor-
tation of PCBs or PCB Items within
the United States; and the evidence
that contamination of the environment
by PCBs is spread far beyond the areas
where they are used. In addition, the
Administrator hereby finds, for pur-
poses of section 6(e)(2)(C) of TSCA, that
any exposure of human beings or the
environment to PCBs, as measured or
detected by any scientifically accept-
able analytical method, may be signifi-
cant, depending on such factors as the
quantity of PCBs involved in the expo-
sure, the likelihood of exposure to hu-
mans and the environment, and the ef-
fect of exposure. For purposes of deter-
mining which PCB Items are. totally
enclosed, pursuant to section 6(e)(2)(C)
of TSCA, since exposure to such Items
may be significant, the Administrator
further finds that a totally enclosed
manner is a manner which results in no
exposure to humans or the environ-
ment to PCBs, The following activities
are considered totally enclosed: dis-
tribution in commerce of intact, non-
leaking electrical equipment such as
transformers (including transformers
used in railway locomotives and self-
propelled cars), capacitors,
electromagnets, voltage regulators,
switches (including sectionalizers and
motor starters), circuit breakers, re-
closers, and cable that contain PCBs at
any concentration and processing and
distribution in commerce of PCB
Equipment containing an intact, non-
leaking PCB Capacitor. See paragraph
(c)(1) of this section for provisions al-
lowing the distribution in commerce of
PCBs and PCB Items.

(a) No persons may use any PCB, or
any PCB Item regardless of concentra-
tion, in any manner other than in a to-
tally enclosed manner within the
United States unless authorized under
§ 761.30, except that:

(1) An authorization is not required
to use those PCBs or PCB Items which
consist of excluded PCB products as de-
fined in § 761.8.

(2) An authorization is not required
to use those PCBs or PCB Items result-
ing from an excluded manufacturing
process or recycled PCBs as defined in

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§761.38, provided all applicable condi-
tions of §761.1(f) are met.

(3) An authorization is not required
to use those PCB Items which contain
or whose surfaces have been in contact
with excluded PCB products as defined
in § 761.3.

(4) An authorization is not required
to use sewage sludge where the uses are
regulated at parts 257, 258, and 503 of
this chapter. No person may blend or
otherwise dilute PCBs regulated for
disposal, including PCB sewage sludge
and sewage sludge not used pursuant to
parts 257, 258, and 503 of this chapter,
for purposes of use or to avoid disposal
requirements under this part. Except
as explicitly provided in subpart D of
this part, no person may dispose of reg-
ulated PCB wastes including, but not
limited to, PCB remediation waste,
PCB bulk product waste, PCBs, and
PCB industrial sludges, into treatment
works, as defined in §608.9(aa) of this
chapter.

(b) No person may manufacture PCEs
for use within the United States or
manufacture PCBs for export from the
United States without an exemption,
except that: an exemption is not re-
quired for PCBs manufactured in an ex-
cluded manufacturing process as de-
fined in §761.38, provided all applicable
conditions of §761.1(f) are met.

(c) No persons may process or dis-
tribute in commerce any PCB, or any
PCB Item regardless of concentration,
for use within the United States or for
export from the United States without
an exemption, except that an exemp-
tion is not required to process or dis-
tribute in commerce PCBs or PCB
Items resulting from an excluded man-
ufacturing process as defined in §761.3,
or to process or distribute in commerce
recycled PCBs as defined in §761.3, or
to process or distribute in commerce
excluded PCB products as defined in
§761.3, provided that all applicable con-
ditions of §'761.1(f) are met. In addition,
the activities described in paragraphs
(c) (1) through (5) of this section may
also be conducted without an exemp-
tion, under the conditions specified
therein.

(1) PCBs at concentrations of 50 ppm
or greater, or PCB Items with PCB con-
centrations of 50 ppm or greater, sold
before July 1, 1979 for purposes other

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than resale may be distributed in com-
merce only in a totally enclosed man-
ner after that date.

(2) Any person may process and dis-
tribute in commerce for disposal PCBs
at concentrations of 250 ppm, or PCB
Items with PCB concentrations of 250
ppm, if they comply with the applica-
ble provisions of this part.

(i) Processing activities which are
primarily associated with and facili-
tate storage or transportation for dis-
posal do not require a TSCA PCB stor-
age or disposal approval.

ii) Processing activities which are
primarily associated with and facili-
tate treatment, as defined in §260.10 of
this chapter, or disposal require a
TSCA PCB disposal approval unless
they are part of an existing approval,
are part of a self-implementing activ-
ity under §761.61(a) or §761.79 (b) or (c),
or are otherwise specifically allowed
under subpart D of this part.

(iii) With the exception of provisions
in §761.60 (a)(2) and (a)(3), in order to
meet the intent of §761.1(b), processing,
diluting, or otherwise blending of
waste prior to being introduced into a
disposal unit for purposes of meeting a
PCB concentration limit shall be done
in accordance with a TSCA PCB dis-
posal approval or comply with the re-
quirements of §761.79.

(iv) Where the rate of delivering liq-
uids or non-liquids into a PCB disposal
unit is an operating parameter, this
rate shall be a condition of the TSCA
PCB disposal approval for the unit
when an approval is required.

(3) PCBs and PCB Items may be ex-
ported for disposal in accordance with
the requirements of subpart F of this
part.

(4) PCBs, at concentrations of less
than 50 ppm, or PCB Items, with con-
centrations of less than 50 ppm, may be
processed and distributed in commerce
for purposes of disposal.

(5) Decontaminated materials. Any
person may distribute in commerce
equipment, structures, or other liquid
or non-liquid materials that were con-
taminated with PCBs 250 ppm, includ-
ing those not otherwise authorized for
distribution in commerce under this
part, provided that one of the following
applies:

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(i) The materials were decontami-
nated in accordance with a TSCA PCB
disposal approval issued under subpart
D of this part, with §761.79, or with ap-
plicable EPA PCB spill cleanup policies
in effect at the time of the decon-
tamination.

(ii) If not previously decontaminated,
the materials now meet an applicable
decontamination standard in §761.79(b).

(d) The use of waste oil that contains
any detectable concentration of PCB as
a sealant, coating, or dust control
agent is prohibited. Prohibited uses in-
clude, but are not limited to, road oil-
ing, general dust control, use as a pes-
ticide or herbicide carrier, and use as a
rust preventative on pipes.

(e) In addition to any applicable re-
quirements under 40 CFR part 279, sub-
parts G and H, marketers and burners
of used oil who market (process or dis-
tribute in commerce) for energy recov-
ery, used oil containing any quantifi-
able level of PCBs are subject to the
following requirements:

(1) Restrictions on marketing. Used oil
containing any quantifiable level of
PCBs (2 ppm) may be marketed only to:

(i) Qualified incinerators as defined
in 40 CFR 761.38.

(ii) Marketers who market off-speci-
fication used oil for energy recovery
only to other marketers who have noti-
fied EPA of their used oil management
activities, and who have an EPA iden-
tification number where an identifica-
tion number is required by 40 CFR
279.73. This would include persons who
market off-specification used oil who
are subject to the requirements at 40
CFR part 279 and the notification re-
quirements of 40 CFR 279.73.

(iii) Burners identified in 40 CFR
279.61(a)(1) and (2), Only burners in the
automotive industry may burn used oil
generated from automotive sources in
used oil-fired space heaters provided
the provisions of 40 CFR 279,23 are met.
The Regional Administrator may grant
a variance for a boiler that does not
meet the 40 CFR 279.61(a)(1) and (2) cri-
teria after considering the criteria list-
ed in 40 CFR 260.32 (a) through (f). The
applicant must address the relevant
criteria contained in 40 CFR 260.32 (a)
through (f) in an application to the Re-
gional Administrator.

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(2) Testing of used oil fuel. Used oil to
be burned for energy recovery is pre-
sumed to contain quantifiable levels (2
ppm) of PCB unless the marketer ob-
tains analyses (testing) or other infor-
mation that the used oil fuel does not
contain quantifiable levels of PCBs.

(i) The person who first claims that a
used oil fuel does not contain quantifi-
able level (2 ppm) PCB must obtain
analyses or other information to sup-
port that claim.

(ii) Testing to determine the PCB
concentration in used oi] may be con-
ducted on individual samples, or in ac-
cordance with the testing procedures
described in §761.60(¢)(2). However, for
purposes of this part, if any PCBs at a
concentration of 50 ppm or greater
have been added to the container or
equipment, then the total container
contents must be considered as having
a PCB concentration of 50 ppm or
greater for purposes of complying with
the disposal requirements of this part.

(iii) Other information documenting
that the used oil fuel does not contain
quantifiable levels (2 ppm) of PCBs
may consist of either personal, special
knowledge of the source and composi-
tion of the used oil, or a certification
from the person generating the used oil
claiming that the oil contains no de-
tectable PCBs.

(3) Restrictions on burning. (i) Used oil
containing any quantifiable levels of
PCB may be burned for energy recov-
ery only in the combustion facilities
identified in paragraph (e)(1) of this
section when such facilities are oper-
ating at normal operating tempera-
tures (this prohibits feeding these fuels
during either startup or shutdown op-
erations). Owners and operators of such
facilities are ‘“‘burners’’ of used oil
fuels,

(ii) Before a burner accepts from a
marketer the first shipment of used oi]
fuel containing detectable PCBs (2
ppm), the burner must provide the
marketer a one-time written and
signed notice certifying that:

(A) The burner has complied with
any notification requirements applica-
ble to ‘'qualified incinerators” (§761.3)
or to “burners” regulated under 40 CFR
part 279, subpart G.

(B) The burner will burn the used oil
only in a combustion facility identified

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in paragraph (e)(1) of this section and
identify the class of burner he quali-
fies.

(4) Recordkeeping requirements. The
following recordkeeping requirements
are in addition to the recordkeeping re-
quirements for marketers found in 40
CFR 279.72(b), 279.74(a), (b) and (c), and
279.75, and for burners found in 40 CFR
279.65 and 279.66.

(i) Marketers. Marketers who first
claim that the used oil fuel contains no
detectable PCBs must include among
the records required by 40 CFR 279.72(b)
and 279.74(b) and (c), copies of the anal-
ysis or other information documenting
his claim, and he must include among
the records required by 40 CFR 279.74(a)
and (c) and 279.75, a copy of each cer-
tification notice received or prepared
relating to transactions involving PCB-
containing used oil.

(ii) Burners. Burners must include
among the records required by 40 CFR
279.65 and 279.66, a copy of each certifi-
cation notice required by paragraph
(e)(3)(ii) of this section that he sends to
a marketer.

(Sec. 6, Pub. L. 94-469, 90 Stat. 2020, (15 U.S.C,
2605)

[44 FR 31542, May 31, 1979. Redesignated at 47
FR 19527, May 6, 1982, and amended at 49 FR
25241, June 20, 1984; 49 FR 28190, July 10, 1984;
49 FR 44638, Nov, 8, 1984; 53 FR 12524, Apr, 15,
1988; 563 FR 24220, June 27, 1988; 58 FR 15435,
Mar. 23, 1993; 58 FR 34205, June 23, 1993; 60 FR
94465, July 3, 1995; 61 FR 11106, Mar. 18, 1996;
63 FR 35439, June 29, 1998; 64 FR 33760, June
24, 1999]

$761.30 Authorizations.

The following non-totally enclosed
PCB activities are authorized pursuant
to section 6(e)(2)(B) of TSCA:

(a) Use in and servicing of transformers
(other than railroad transformers). PCBs
at any concentration may be used in
transformers (other than in railroad lo-
comotives and self-propelled railroad
cars) and may be used for purposes of
servicing including rebuilding these
transformers for the remainder of their
useful lives, subject to the following
conditions:

(1) Use conditions. (i) As of October 1,
1985, the use and storage for reuse of
PCB Transformers that pose an expo-
sure risk to food or feed is prohibited.

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(ii) As of October 1, 1990, the use of
network PCB Transformers with higher
secondary voltages (secondary voltages
equal to or greater than 480 volts, in-
cluding 480/277 volt systems) in or near
commercial buildings is prohibited.
Network PCB Transformers with high-
er secondary voltages which are re-
moved from service in accordance with
this requirement must either be reclas-
sified to PCB Contaminated or non
PCB status, placed into storage for dis-
posal, or disposed.

(iii) Except as otherwise provided, as
of October 1, 1985, the installation of
PCB Transformers, which have been
placed into storage for reuse or which
have been removed from another loca-
tion, in or near commercial buildings
is prohibited.

(A) Retrofilled mineral oil PCB
Transformers may be installed for re-
classification purposes indefinitely
after October 1, 1990.

(B) Once a retrofilled transformer has
been installed for reclassification pur-
poses, it must be tested 3 months after
installation to ascertain the concentra-
tion of PCBs. If the PCB concentration
is below 50 ppm, the transformer can be
reclassified as a non-PCB Transformer.
If the PCB concentration is between 50
and 500 ppm, the transformer can be re-
classified as a PCB-Contaminated
transformer. If the PCB concentration
remains at 500 ppm or greater, the en-
tire process must either be repeated
until the transformer has been reclassi-
fied to a non-PCB or PCB-Contami-
nated transformer in accordance with
paragraph (a)(2)(v) of this section or
the transformer must be removed from
service.

(iv) As of October 1, 1990, all higher
secondary voltage radial PCB Trans-
formers, in use in or near commercial
buildings, and lower secondary voltage
network PCB Transformers not located
in sidewalk vaults in or near commer-
cial buildings (network transformers
with secondary voltages below 480
volts) that have not been removed from
service as provided in paragraph
(a)(1Xiv\B) of this section, must be
equipped with electrical protection to
avoid transformer ruptures caused by
high current faults. As of February 25,
1991, all lower secondary voltage radial
PCB Transformers, in use in or near

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commercial buildings, must be
equipped with electrical protection to
avoid transformer ruptures caused by
high current faults.

(A) Current-limiting fuses or other
equivalent technology must be used to
detect sustained high current faults
and provide for the complete
deenergization of the transformer
(within several hundredths of a second
in the case of higher secondary voltage
radial PCB Transformers and within
tenths of a second in the case of lower
secondary voltage network PCB Trans-
formers), before transformer rupture
occurs. Lower secondary voltage radial
PCB Transformers must be equipped
with electrical protection as provided
in paragraph (a)(1)(iv)(E) of this sec-
tion. The installation, setting, and
maintenance of current-limiting fuses
or other equivalent technology to
avoid PCB Transformer ruptures from
sustained high current faults must be
completed in accordance with good en-
gineering practices.

(B) All lower secondary voltage net-
work PCB Transformers not located in
sidewalk vaults (network transformers
with secondary voltages below 480
volts), in use in or near commercial
buildings, which have not been pro-
tected as specified in paragraph
(a)(1)\Giv)(A) of this section by October
1, 1990, must be removed from service
by October 1, 1993.

(C) As of October 1, 1990, owners of
lower secondary voltage network PCB
Transformers, in use in or near com-
mercial buildings which have not been
protected as specified in paragraph
(a)(1)\(iv)(A) of this section and which
are not located in sidewalk vaults,
must register in writing those trans-
formers with the EPA Regional Admin-
istrator in the appropriate region. The
information required to be provided in
writing to the Regional Administrator
includes:

(7) The specific location of the PCB
Transformer(s).

(2) The address(es) of the building(s)
and the physical location of the PCB
Transformer(s) on the building site(s).

(3) The identification number(s) of
the PCB Transformer(s).

(D) As of October 1, 1998, all lower
secondary voltage network PCB Trans-
formers located in sidewalk vaults

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(network transformers with secondary
voltages below 480 volts) in use near
commercial] buildings must be removed
from service.

(EZ) As of February 25, 1991, all lower
secondary voltage radial PCB Trans-
formers must be equipped with elec-
trical protection, such as current-lim-
iting fuses or other equivalent tech-
nology, to detect sustained high cur-
rent faults and provide for the com-
plete deenergization of the transformer
or complete deenergization of the
faulted phase of the transformer within
several hundredths of a second. The in-
stallation, setting, and maintenance of
current-limiting fuses or other equiva-
lent technology to avoid PCB Trans-
former ruptures from sustained high
current faults must be completed in ac-
cordance with good engineering prac-
tices.

(v) As of October 1, 1990, all radial
PCB Transformers with higher sec-
ondary voltages (480 volts and above,
including 480/277 volt systems) in use in
or near commercial buildings must, in
addition to the requirements of para-
graph (a)(1)(iv)(A) of this section, be
equipped with protection to avoid
transformer ruptures caused by sus-
tained low current faults.

(A) Pressure and temperature sensors
(or other equivalent technology which
has been demonstrated to be effective
in early detection of sustained low cur-
rent faults) must be used in these
transformers to detect sustained low
current faults.

(B) Disconnect equipment must be
provided to insure complete
deenergization of the transformer in
the event of a sensed abnormal condi-
tion (e.g., am overpressure or over-
temperature condition in the trans-
former), caused by a sustained low cur-
rent fault. The disconnect equipment
must be configured to operate auto-
matically within 30 seconds to 1
minute of the receipt of a signal indi-
cating an abnormal condition from a
sustained low current fault, or can be
configured to allow for manual
deenergization from a manned on-site
control center upon the receipt of an
audio or visual signal indicating an ab-
normal condition caused by a sustained
low current fault. Manual
deenergization from a manned on-site

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control center must occur within 1
minute of the receipt of the audio or
visual signal indicating an abnormal
condition caused by a sustained low
current fault. If automatic operation is
selected and a circuit breaker is uti-
lized for disconnection, it must also
have the capability to be manually
opened if necessary.

(C) The enhanced electrical protec-
tive system required for the detection
of sustained low current faults and the
complete and rapid deenergization of
transformers must be properly in-
stalled, maintained, and set sensitive
enough (in accordance with good engi-
neering practices) to detect sustained
low current faults and allow for rapid
and total deenergization prior to PCB
Transformer rupture (either violent or
non violent rupture) and release of
PCBs.

(vi)(A) No later than December 28,
1998 all owners of PCB Transformers,
including those in storage for reuse,
must register their transformers with
the Environmental Protection Agency,
National Program Chemicals Division,
Office of Pollution Prevention and
Toxics (7404), 1200 Pennsylvania Ave.,
NW., Washington, DC 20460. This reg-
istration requirement is subject to the
limitations in paragraph (a)(1) of this
section.

(1) A transformer owner who assumes
a transformer is a PCB-Contaminated
transformer, and discovers after De-
cember 28, 1998 that it is a PCB-Trans-
former, must register the newly-identi-
fied PCB Transformer, in writing, with
the Environmental Protection Agency
no later than 30 days after it is identi-
fied as such. This requirement does not
apply to transformer owners who have
previously registered with the EPA
PCB Transformers located at the same
address as the transformer that they
assumed to be PCB-Contaminated and
later determined to be a PCB Trans-
former.

(2) A person who takes possession of
a PCB Transformer after December 28,
1998 is not required to register or re-
register the transformer with the EPA.

(B) Any person submitting a registra-
tion under this section must include:

(1) Company name and address.

(2) Contact name and telephone num-
ber.

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(3) Address where these transformers
are located. For mobile sources such as
ships, provide the name of the ship.

(4) Number of PCB Transformers and
the total weight in kilograms of PCBs
contained in the transformers.

(5) Whether any transformers at this
location contain flammable dielectric
fluid (optional).

(6) Signature of the owner, operator,
or other authorized representative cer-
tifying the accuracy of the information
submitted.

(C) A transformer owner must retain
a record of each PCB Transformer’s
registration (e.g., a copy of the reg-
istration and the return receipt signed
by EPA) with the inspection and main-
tenance records required for each PCB
Transformer under paragraph
(a)(1)(xii)(1) of this section.

(D) A transformer owner must com-
ply with all requirements of paragraph
(a)(1)(vi)(A) of this section to continue
the PCB-Transformer’s authorization
for use, or storage for reuse, pursuant
to this section and TSCA section
6(e)(2)(B).

(vii) As of December 1, 1985, PCB
Transformers in use in or near com-
mercial buildings must be registered
with building owners. For PCB Trans-
formers located in commercial build-
ings, PCB Transformer owners must
register the transformers with the
building owner of record. For PCB
Transformers located near commercial
buildings, PCB Transformer owners
must register the transformers with all
owners of buildings located within 30
meters of the PCB Transformer(s). In-
formation required to be provided to
building owners by PCB Transformer
owners includes but is not limited to:

(A) The specific location of the PCB
Transformer(s).

(B) The principal constituent of the
dielectric fluid in the transformer(s)
(e.g., PCBs, mineral oil, or silicone oil).

(C) The type of transformer installa-
tion (e.g., 208/120 volt network, 208/120
volt radial, 208 volt radial, 480 volt net-
work, 480/277 volt network, 480 volt ra-
dial, 480/277 volt radial).

(viii) As of December 1, 1985, combus-
tible materials, including, but not lim-
ited to paints, solvents, plastics, paper,
and sawn wood must not be stored
within a PCB Transformer enclosure

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(i.e., in a transformer vault or in a par-
titioned area housing a transformer);
within 5 meters of a transformer enclo-
sure, or, if unenclosed (unpartitioned),
within 5 meters of a PCB Transformer.

(ix) A visual inspection of each PCB
Transformer (as defined in the defini-
tion of “PCB Transformer’ under
§ 761.3) in use or stored for reuse shall
be performed at least once every 3
months. These inspections may take
place any time during the 3-month pe-
riods: January-March, April-June,
July-September, and October-Decem-
ber as long as there is a minimum of 30
days between inspections. The visual
inspection must include investigation
for any leak of dielectric fluid on or
around the transformer. The extent of
the visual inspections will depend on
the physical constraints of each trans-
former installation and should not re-
quire an electrical shutdown of the
transformer being inspected.

(x) If a PCB Transformer is found to
have a leak which results in any quan-
tity of PCBs running off or about to
run off the external surface of the
transformer, then the transformer
must be repaired or replaced to elimi-
nate the source of the leak. In all cases
any leaking material must be cleaned
up and properly disposed of according
to disposal requirements of subpart D
of this part. Cleanup of the released
PCBs must be initiated as soon as pos-
sible, but in no case later than 48 hours
of its discovery. Until appropriate ac-
tion is completed, any active leak of
PCBs must be contained to prevent ex-
posure of humans or the environment
and inspected daily to verify contain-
ment of the leak. Trenches, dikes,
buckets, and pans are examples of
proper containment measures.

(xi) If a PCB Transformer is involved
in a fire-related incident, the owner of
the transformer must immediately re-
port the incident to the National Re-
sponse Center (toll-free 1-800-424-8802;
in Washington, DC 202-426-2675). A fire-
related incident is defined as any inci-
dent involving a PCB Transformer
which involves the generation of suffi-
cient heat and/or pressure (by any
source) to result in the violent or non-
violent rupture of a PCB Transformer
and the release of PCBs. Information
must be provided regarding the type of

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PCB Transformer installation involved
in the fire-related incident (e.g., high
or low secondary voltage network
transformer, high or low secondary
voltage simple radial system, expanded
radial system, primary selective sys-
tem, primary loop system, or sec-
ondary selective system or other sys-
tems) and the readily ascertainable
cause of the fire-related incident (e.g.,
high current fault in the primary or
secondary or low current fault in sec-
ondary). The owner of the PCB Trans-
former must also take measures as
soon as practically and safely possible
to contain and control any potential
releases of PCBs and incomplete com-
bustion products into water. These
measures include, but are not limited
to:

(A) The blocking of all floor drains in
the vicinity of the transformer.

(B) The containment of water runoff.

(C) The control and treatment (prior
to release) of any water used in subse-
quent cleanup operations.

(xii) Records of inspection and main-
tenance history shall be maintained at
least 3 years after disposing of the
transformer and shall be made avail-
able for inspection, upon request by
EPA. Such records shall contain the
following information for each PCB
Transformer:

(A) Its location.

(B) The date of each visual inspection
and the date that leak was discovered,
if different from the inspection date,

(C) The person performing the inspec-
tion.

(D) The location of any leak(s).

(EB) An estimate of the amount of di-
electric fluid released from any leak.

(F) The date of any cleanup, contain-
ment, repair, or replacement.

(G) A description of any cleanup, con-
tainment, or repair performed.

(H) The results of any containment
and daily inspection required for un-
corrected active leaks.

(I) Record of the registration of PCB
Transformer(s).

(J) Records of transfer of ownership
in compliance with §761.180(a)(2)(ix).

(xiii) A reduced visual inspection fre-
quency of at least once every 12
months applies to PCB Transformers
that utilize either of the following risk
reduction measures. These inspections

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may take place any time during the
calendar year as long as there is a min-
imum of 180 days between inspections.

(A) A PCB Transformer which has
impervious, undrained, secondary con-
tainment capacity of at least 100 per-
cent of the total dielectric fluid vol-
ume of all transformers so contained or

(B) A PCB Transformer which has
been tested and found to contain less
than 60,000 ppm PCBs (after 3 months
of in service use if the transformer has
been serviced for purposes of reducing
the PCB concentration).

(xiv) An increased visual inspection
frequency of at least once every week
applies to any PCB Transformer in use
or stored for reuse which poses an ex-
posure risk to food or feed. The user of
a PCB Transformer posing an exposure
risk to food is responsible for the in-
spection, recordkeeping, and mainte-
nance requirements under this section
until the user notifies the owner that
the transformer may pose an exposure
risk to food or feed. Following such no-
tification, it is the owner's ultimate re-
sponsibility to determine whether the
PCB Transformer poses an exposure
risk to food or feed.

(xv) In the event a mineral oil trans-
former, assumed to contain less than
500 ppm of PCBs as provided in §761.2,
is tested and found to be contaminated
at 500 ppm or greater PCBs, it will be
subject to all the requirements of this
part 761. In addition, efforts must be
initiated immediately to bring the
transformer into compliance in accord-
ance with the following schedule:

(A) Report fire-related incidents, ef-
fective immediately after discovery.

(B) Mark the PCB transformer within
7 days after discovery.

(C) Mark the vault door, machinery
room door, fence, hallway or other
means of access to the PCB Trans-
former within 7 days after discovery.

(D) Register the PCB Transformer in
writing with the building owner within
30 days of discovery.

(E) Install electrical protective
equipment on a radial PCB Trans-
former and a non-sidewalk vault, lower
secondary voltage network PCB Trans-
former in or near a commercial build-
ing within 18 months of discovery or by
October 1, 1990, whichever is later.

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(F) Remove a non-sidewalk vault,
lower secondary voltage network PCB
Transformer in or near a commercial
building, if electrical protective equip-
ment is not installed, within 18 months
of discovery or by October 1, 1993,
whichever is later.

(G) Remove a lower secondary volt-
age network PCB Transformer located
in a sidewalk vault in or near a com-
mercial building, within 18 months of
discovery or by October 1, 1993, which-
ever is later.

(H) Retrofill and reclassify a radial
PCB Transformer or a lower or higher
secondary voltage network PCB Trans-
former, located in other than a side-
walk vault in or near a commercial
building, within 18 months or by Octo-
ber 1, 1990, whichever is later. This is
an option in lieu of installing electrical
protective equipment on a radial or
lower secondary voltage network PCB
Transformer located in other than a
sidewalk vault or of removing a higher
secondary voltage network PCB Trans-
former or a lower secondary voltage
network PCB Transformer, located in a
sidewalk vault, from service.

(I) Retrofill and reclassify a lower
secondary voltage network PCB Trans-
former, located in a sidewalk vault, in
or near a commercial building within
18 months or by October 1, 1993, which-
ever is later. This is an option in lieu
of installing electrical protective
equipment or removing the trans-
former from service.

(J) Retrofill and reclassify a higher
secondary voltage-network PCB Trans-
former, located in a sidewalk vault, in
or near a commercial building within
18 months or by October 1, 1990, which-
ever is later. This is an option in lieu
of other requirements.

(2) Servicing conditions. (i) Trans-
formers classified as PCB-Contami-
nated Electrical Equipment (as defined
in the definition of “PCB-Contami-
nated Electrical Equipment” under
§761.3) may be serviced (including re-
building) only with dielectric fluid con-
taining less than 500 ppm PCB.

(ii) Any servicing (including rebuild-
ing) of PCB Transformers (as defined in
the definition of ‘‘PCB Transformer”
under §761.3) that requires the removal
of the transformer coil from the trans-
former casing is prohibited. PCB

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Transformers may be serviced (includ-
ing topping off) with dielectric fluid at
any PCB concentration.

(iii) PCBs removed during any serv-
icing activity must be captured and ei-
ther reused as dielectric fluid or dis-
posed of in accordance with the re-
quirements of §761.60. PCBs from PCB
Transformers must not be mixed with
or added to dielectric fluid from PCB-
Contaminated Electrical Equipment.

(iv) Regardless of its PCB concentra-
tion, dielectric fluids containing less
than 500 ppm PCB that are mixed with
fluids that contain 500 ppm or greater
PCE must not be used as dielectric
fluid in any electrical equipment. The
entire mixture of dielectric fluid must
be considered to be greater than 500
ppm PCB and must be disposed of in an
incinerator that meets the require-
ments in §761.70.

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(v) You may reclassify a PCB Trans-
former that has been tested and deter-
mined to have a concentration of 2500
ppm PCBs to a PCB-Contaminated
transformer (250 but <500 ppm) or to a
non-PCB transformer (<50 ppm), and
you may reclassify a PCB-Contami-
nated transformer that has been tested
and determined to have a concentra-
tion of >50 ppm but <500 ppm to a non-
PCB transformer, as follows:

(A) Remove the free-flowing PCB di-
electric fluid from the transformer.
Flushing is not required. Hither test
the fluid or assume it contains 21,000
ppm PCBs. Retrofill the transformer
with fluid containing known PCB lev-
els according to the following table.
Determine the transformer’s reclassi-
fied status according to the following
table (if following this process does not
result in the reclassified status you de-
sire, you may repeat the process):

Hf test results show the

PC:
(ppm) in the transformer
on ee

and you...

and test results show

the PCB concentration then the transformer's
(ppm) after retrofill is ..

reclassified status is. .

21,000 (or untested) <50 ppm PCBs

operate the transformer

250 but <500 PCB-contaminated

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<50 ppm PCBs

fluid for PCBs

2500 but <1,000

<50 ppm PCBs

test the fluid for PCBs
at least 90 days after
retrofill

250 bul <500

PCB-contaminated

<50 ppm PCBs

test the fluid for PCBs
at least 90 days after
retrofill

non-PCB

250 but <500

22 but <50 ppm PCBs

test the fluid for PCBs
at least 90 days after
retrofill

non-PCB

<2 ppm PCBs

{no need to test)

(not applicable)

non-PCB

(B) If you discover that the PCB con-
centration of the fluid in a reclassified
transformer has changed, causing the
reclassified status to change, the trans-
former is regulated based on the actual
concentration of the fluid. For exam-
ple, a transformer that was reclassified

to non-PCB status is regulated as a
PCB-Contaminated transformer if you
discover that the concentration of the
fluid has increased to 250 but <500 ppm
PCBs. If you discover that the PCB
concentration of the fluid has risen to
2500 ppm, the transformer is regulated

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as a PCB Transformer. Follow para-
graphs (a)(1)(xv)(A) through (J) of this
section to come into compliance with
the regulations applicable to POB
Transformers. You also have the option
of repeating the reclassification proc-
ess.

(C) The Director, National Program
Chemicals Division, may, without fur-
ther rulemaking, grant approval on a
case-by-case basis for the use of alter-
native methods to reclassify trans-
formers. You may request an approval
by writing to the Director, National
Program Chemicals Division (7404), En-
vironmental Protection Agency, 1200
Pennsylvania Ave., NW., Washington,
DC 20460. Describe the equipment you
plan to reclassify, the alternative re-
classification method you plan to use,
and test data or other evidence on the
effectiveness of the method.

(D) You must keep records of the re-
classification required by §761.180(g).

(vi) Any dielectric fluid containing 50
ppm or greater PCB used for servicing
transformers must be stored in accord-
ance with the storage for disposal re-
quirements of § 761.65.

(vii) Processing and distribution in
commerce of PCBs for purposes of serv-
icing transformers is permitted only
for persons who are granted an exemp-
tion under TSCA 6(e)(3)(B).

(b) Use in and servicing of railroad
transformers. PCBs may be used in
transformers in railroad locomotives or
railroad self-propelled cars (‘‘railroad
transformers”) and may be processed
and distributed in commerce for pur-
poses of servicing these transformers in
a manner other than a totally enclosed
manner subject to the following condi-
tions:

(1) Use restrictions. After July 1, 1986,
use of railroad transformers that con-
tain dielectric fluids with a PCB con-
centration >1,000 ppm is prohibited.

(2) Servicing restrictions. (i) If the coil
is removed from the casing of a rail-
road transformer (e.g., the transformer
is rebuilt), after January 1, 1982, the
railroad transformer may not be re-
filled with dielectric fluid containing a
PCB concentration greater than 650
ppm,

(ii) After January 1, 1984, railroad
transformers may only be serviced
with dielectric fluid containing less

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than 1000 ppm PCB, except as provided
in paragraph (b)(2)(i) of this section;

(iii) Dielectric fluid may be filtered
through activated carbon or otherwise
industrially processed for the purpose
of reducing the PCB concentration in
the fluid;

(iv) Any PCB dielectric fluid that is
used to service PCB railroad trans-
formers must be stored in accordance
with the storage for disposal require-
ments of § 761.65;

(v) After July 1, 1979, processing and
distribution in commerce of PCBs for
purposes of servicing railroad trans-
formers is permitted only for persons
who are granted an exemption under
TSCA section 6(e)(3)(B).

(vi) A PCB Transformer may be con-
verted to a PCB-Contaminated Trans-
former or to a non-PCB Transformer by
draining, refilling, and/or otherwise
servicing the railroad transformer. In
order to reclassify, the railroad trans-
former's dielectric fluid must contain
less than 500 ppm (for conversion to
PCB-Contaminated Transformer) or
less than 50 ppm PCB (for conversion to
a non-PCB Transformer) after a min-
imum of three months of inservice use
subsequent to the last servicing con-
ducted for the purpose of reducing the
PCB concentration in the transformer.

(c) Use in mining equipment. After
January 1, 1982, PCBs may be used in
mining equipment only at a concentra-
tion level of <50 ppm.

(d) Use in heat transfer systems. After
July 1, 1984, PCBs may be used in heat
transfer systems only at a concentra-
tion level of <50 ppm. Heat transfer
systems that were in operation after
July 1, 1984, with a concentration level
of <50 ppm PCBs may be serviced to
maintain a concentration level of <50
ppm PCBs. Heat transfer systems may
only be serviced with fluids containing
<50 ppm PCBs.

(e) Use in hydraulic systems. After
July 1, 1984, PCBs may be used in hy-
draulic systems only at a concentra-
tion level of <50 ppm. Hydraulic sys-
tems that were in operation after July
1, 1984, with a concentration level of
<50 ppm PCBs may be serviced to main-
tain a concentration level of <50 ppm
PCBs. Hydraulic systems may only be
serviced with fluids containing <50 ppm
PCBs.

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(f) Use in carbonless copy paper.
Carbonless copy paper containing PCBs
may be used in a manner other than a
totally enclosed manner indefinitely.

(¢) [Reserved]

(h) Use in and servicing of
electromagnets, switches and voltage reg-
ulators. PCBs at any concentration
may be used in electromagnets, switch-
es (including sectionalizers and motor
starters), and voltage regulators and
may be used for purposes of servicing
this equipment (including rebuilding)
for the remainder of their useful lives,
subject to the following conditions:

(1) Use conditions. (i) After October 1,
1985, the use and storage for reuse of
any electromagnet which poses an ex-
posure risk to food or feed is prohibited
if the electromagnet contains greater
than 500 ppm PCBs.

(ii) Use and storage for reuse of volt-
age regulators which contain 1.36 kilo-
grams (8 lbs) or more of dielectric fluid
with a PCB concentration of 2500 ppm
are subject to the following provisions:

(A) The owner of the voltage regu-
lator must mark its location in accord-
ance with §761.40.

(B) If a voltage regulator is involved
in a fire-related incident, the owner
must immediately report the incident
to the National Response Center (Toll-
free: 1-800-424-8802; in Washington, DC:
202-426-2675). A fire-related incident is
defined as any incident that involves
the generation of sufficient heat and/or
pressure, by any source, to result in
the violent or non-violent rupture of
the voltage regulator and the release of
PCBs.

(C) The owner of the voltage regu-
lator must inspect it in accordance
with the requirements of paragraphs
(a)(1Xix), (a)(1)(xili), and (a)(1)(xiv) of
this section that apply to PCB Trans-
formers.

(D) The owner of the voltage regu-
lator must comply with the record-
keeping and reporting requirements at
§ 761.180.

(ii) The owner of a voltage regulator
that assumes it contains <500 ppm
PCBs as provided in §761.2, and dis-
covers by testing that it is contami-
nated at 2500 ppm PCBs, must comply
with paragraph (h)(1)(ii)(A) of this sec-
tion 7 days after the discovery, and
paragraphs (h)(1)(i)(B), (h)(1)Gi)(C),

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and (h)(1)(ii)(D) of this section imme-
diately upon discovery.

(2) Servicing conditions. (i) Servicing
(including rebuilding) any electro-
magnet, switch, or voltage regulator
with a PCB concentration of 500 ppm or
greater which requires the removal and
rework of the internal components is
prohibited.

(ii) Electromagnets, switches, and
voltage regulators classified as PCB-
Contaminated Electrical Equipment
(as defined in the definition of ‘‘PCB-
Contaminated Electrical Equipment”
under §761.3) may be serviced (includ-
ing rebuilding) only with dielectric
fluid containing less than 500 ppm PCB.

(iii) PCBs removed during any serv-
icing activity must be captured and ei-
ther reused as dielectric fluid or dis-
posed of in accordance with the re-
quirements of §761.60. PCBs from
electromagnets switches, and voltage
regulators with a PCB concentration of
at least 500 ppm must not be mixed
with or added to dielectric fluid from
PCB-Contaminated Electrical Equip-
ment.

(iv) Regardless of its PCB concentra-
tion, dielectric fluids containing less
than 500 ppm PCB that are mixed with
fluids that contain 500 ppm or greater
PCB must not be used as dielectric
fluid in any electrical equipment. The
entire mixture of dielectric fluid must
be considered to be greater than 500
ppm PCB and must be disposed of in an
incinerator that meets the require-
ments of § 761.70.

(v) You may reclassify an electro-
magnet, switch, or voltage regulator
that has been tested and determined to
have a concentration of 2500 ppm PCBs
to PCB-Contaminated status (250 but
<500 ppm) or to non-PCB status (<50
ppm), and you may reclassify a PCB-
Contaminated electromagnet, switch,
or voltage regulator that has been test-
ed and determined to have a concentra-
tion of 250 ppm but <500 ppm to a non-
PCB status, as follows:

(A) Remove the free-flowing PCB di-
electric fluid from the electromagnet,
switch, or voltage regulator. Flushing
is not required. Hither test the fluid or
assume it contains 21,000 ppm PCBs.
Retrofill the electromagnet, switch, or
voltage regulator with fluid containing

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known PCB levels according to the fol-
lowing table. Determine the electro-
magnet, switch, or voltage regulator's
reclassified status according to the fol-

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lowing table (if following this process
does not result in the reclassified sta-
tus you desire, you may repeat the
process):

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and tes! results show
the PC

Ginn) shor OO

than the et,

switch, or vollage regu-

lalor's reclassihed sta-
tusis...

21,000 (or untested)

fluid for PCBs

250 but <500

PCB-contaminated

<50 ppm PCBs

operale the equipment
electrically under
loaded conditions for
at least 90-contin-
uous days after
relrofill, then test the
fluid for PCBs

<50

2500 but <1,000

<50 ppm PCBs

test the fluid for PCBs
at least 90 days after
retrofil

250 but <500

PCB-conlaminated

<50 ppm PGBs

test the fluid for PCBs
at leas 90 days after
retrofili

non-PCB

250 bul <500

22 but <50 ppm PCBs

test the fluid for PCBs
al least 90 days after

retrofill

<2 ppm PCBs

(no need to test)

non-PCB

(not applicable)

(B) If you discover that the PCB con-
centration of the fluid in a reclassified
electromagnet, switch, or voltage regu-
lator has changed, causing the reclassi-
fied status to change, the electro-
magnet, switch, or voltage regulator is
regulated based on the actual con-
centration of the fluid. For example, an
electromagnet, switch, or voltage regu-
lator that was reclassified to non-PCB
status is regulated as a PCB-Contami-
nated electromagnet, switch, or volt-
_ age regulator if you discover that the

concentration of the fluid has in-
creased to 250 but <500 ppm PCBs. If
you discover that the PCB concentra-
tion of the fluid in a voltage regulator
has risen to 2500 ppm, follow paragraph
(h)(1)(iii) of this section to come into
compliance with the regulations appli-
cable to voltage regulators containing
2500 ppm PCBs. You also have the op-
tion of repeating the reclassification
process.

(C) The Director, National Program
Chemicals Division may, without fur-

ther rulemaking, grant approval on a
case-by-case basis for the use of alter-
native methods to reclassify
electromagnets, switches or voltage
regulators. You may request an ap-
proval by writing to the Director, Na-
tional Program Chemicals Division
(7404), Environmental Protection Agen-
cy,1200 Pennsylvania Ave., NW., Wash-
ington, DC 20460. Describe the equip-
ment you plan to reclassify, the alter-
native reclassification method you
plan to use, and test data or other evi-
dence on the effectiveness of the meth-
od.

(D) You must keep records of the re-
classification required by §'761.180(g).

(vi) Any dielectric fluid containing 50
ppm or greater PCB used for servicing
electromagnets, switches, or voltage
regulators must be stored in accord-
ance with the storage for disposal re-
quirements of §761.65.

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(vii) Processing and distribution in
commerce of PCBs for purposes of serv-
icing electromagnets, switches or volt-
age regulators is permitted only for
persons who are granted an exemption
under TSCA 6(e)(3)(B).

(i) Use and reuse of PCBs in natural
gas pipeline systems; use and reuse of
PCB-Contaminated natural gas pipe and
appurtenances. (1)(i) PCBs are author-
ized for use in natural gas pipeline sys-
tems at concentrations <50 ppm.

(ii) PCBs are authorized for use, at
concentrations 250 ppm, in natural gas
pipeline systems not owned or operated
by a seller or distributor of natural
gas.

(iii)(A) PCBs are authorized for use,
at concentrations 250 ppm, in natural
gas pipeline systems owned or operated
by a seller or distributor of natural
gas, if the owner or operator:

(1) Submits to EPA, upon request, a
written description of the general na-
ture and location of PCBs 250 ppm in
their natural gas pipeline system. Each
written description shall be submitted
to the EPA Regional] Administrator
having jurisdiction over the segment or
component of the system (or the Direc-
tor, National Program Chemicals Divi-
sion, Office of Pollution Prevention
and Toxics, if the system is contami-
nated in more than one region).

(2) Within 120 days after discovery of
PCBs 250 ppm in natural gas pipeline
systems, or by December 28, 1998,
whichever is later, characterizes the
extent of PCB contamination by col-
lecting and analyzing samples to iden-
tify the upstream and downstream end
points of the segment or component
where PCBs 250 ppm were discovered.

(3) Within 120 days of characteriza-
tion of the extent of PCB contamina-
tion, or by December 28, 1998, which-
ever is later, samples and analyzes all
potential sources of introduction of
PCBs into the natural gas pipeline sys-
tem for PCBs 250 ppm. Potential
sources include natural gas compres-
sors, natural gas scrubbers, natural gas
filters, and interconnects where nat-
ural gas is received upstream from the
most downstream sampling point
where PCBs 250 ppm were detected; po-
tential sources exclude valves, drips, or
other small liquid condensate collec-
tion points.

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(4) Within 1 year of characterization
of the extent of PCB contamination,
reduces all demonstrated sources of
PCBs 250 ppm to <50 ppm, or removes
such sources from the natural gas pipe-
line system; or implements other engi-
neering measures or methods to reduce
PCB levels to <50 ppm and to prevent
further introduction of PCBs 250 ppm
into the natural gas pipeline system
(e.g., pigging, decontamination, in-line
filtration).

(5) Repeats sampling and analysis at
least annually where PCBs are 250 ppm,
until sampling results indicate the nat-
ural gas pipeline segment or compo-
nent is <50 ppm PCB in two successive
samples with a minimum interval be-
tween samples of 180 days.

(6) Marks aboveground sources of
PCB liquids in natural gas pipeline sys-
tems with the M, Mark in accordance
with §761.45(a), where such sources
have been demonstrated through his-
torical data or recent sampling to con-
tain PCBs 250 ppm.

(B) Owners or operators of natural
gas pipeline systems which do not in-
clude potential sources of PCB con-
tamination as described in paragraph
(i))Gii)(A)(3) of this section con-
taining 250 ppm PCB are not subject to
paragraphs (i) G1i1)(A)(2),
()()Gii)(A)(), (1))Gii)(A)), or
(i)(Q)Gii)(A)(6) of this section. Owners
or operators of these systems, however,
must comply with the other provisions
of this section (¢.g., sampling of any
collected PCB liquids and record-
keeping).

(C) The owner or operator of a nat-
ural gas pipeline system must docu-
ment in writing all data collected and
actions taken, or not taken, pursuant
to the authorization in paragraph
(i)(1)(iii)(A) of this section. They must
maintain the information for 3 years
after the PCB concentration in the
component or segment is reduced to
<50 ppm, and make it available to EPA
upon request.

(D) The Director, National Program
Chemicals Division, after consulting
with the appropriate EPA Region(s)
may, based on a finding of no unreason-
able risk, modify in writing the re-
quirements of paragraph (i)(1)(iii)(A) of
this section, including extending any
compliance date, approving alternative

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formats for documentation, waiving
one or more requirements for a seg-
ment or component, requiring sam-
pling and analysis, and requiring im-
plementation of engineering measures
to reduce PCB concentrations. EPA
will make such modifications based on
the natural gas pipeline system size,
configuration, and current operating
conditions; nature, extent or source of
contamination; proximity of contami-
nation to end-users; or previous sam-
pling, monitoring, remedial actions or
documentation of activities taken re-
garding compliance with this author-
ization or other applicable Federal,
State, or local laws and regulations.
The Director, National Program
Chemicals Division, may defer the au-
thority described in this paragraph,
upon request, to the appropriate EPA
Region.

(HE) The owner or operator of a nat-
ural gas pipeline system may use his-
torical data to fulfill the requirements
of paragraphs (i)@)G17)(A)@),
()Q)GI)(A)(2) amd (i)(1)G11)(A)(3)_oof
this section. They may use documented
historical actions taken to reduce PCB
concentrations in known sources; de-
contaminate components or segments
of natural gas pipeline systems; or oth-
erwise to reduce PCB levels to fulfill
the requirements of paragraph
(i)()G1i)(A)(4) of this section.

(2) Any person may reuse PCB-Con-
taminated natural gas pipe and appur-
tenances in a natural gas pipeline sys-
tem, provided all free-flowing liquids
have been removed.

(3) Any person may use PCB-Con-
taminated natura] gas pipe, drained of
all free-flowing liquids, in the trans-
port of liquids (e.g., bulk hydrocarbons,
chemicals, petroleum products, or coal
slurry), a5 casing to provide secondary
containment or protection (e.g., pro-
tection for electrical cable), as indus-
trial structural material (e.g., fence
posts, sign posts, or bridge supports),
as temporary flume at construction
sites, as equipment skids, as culverts
under transportation systems in inter-
mittent flow situations, for sewage
service with written consent of the
Publicly Owned Treatment Works
(POTW), for steam service, as irriga-
tion systems (<20 inch diameter) of less

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than 200 miles in length, and in a to-
tally enclosed compressed air system.

(4) Any person characterizing PCB
contamination in natural gas pipe or
natural gas pipeline systems must do
so by analyzing organic liquids col-
lected at existing condensate collec-
tion points in the pipe or pipeline sys-
tem. The level of PCB contamination
found at a collection point is assumed
to extend to the next collection point
downstream. Any person character-
izing multi-phasic liquids must do so in
accordance with §761.1(b)(4); if no liq-
uids are present, they must use stand-
ard wipe samples in accordance with
subpart M of this part.

(5)(i) Any person disposing of liquids
containing PCBs 250 ppm removed,
spilled, or otherwise released from a
natural gas pipeline system must do so
in accordance with §$761.61(a)(5)(iv)
based on the PCB concentration at the
time of removal from the system. Any
person disposing of materials contami-
nated by spills or other releases of
PCBs 250 ppm from a natural gas pipe-
line systems, must do so in accordance
with §§ 761.61 or 761.79, as applicable.

(ii) Any person who markets or burns
for energy recovery liquids containing
PCBs at concentrations <50 ppm PCBs
at the time of removal from a natural
gas pipeline system must do so in ac-
cordance with the provisions per-
taining to used oil at §761.20(e). No
other use of liquid containing PCBs at
concentrations above the quantifiable
level/level of detection removed from a
natural gas pipeline system is author-
ized.

(j) Research and development. For pur-
poses of this section, authorized re-
search and development (R&D) activi-
ties include, but are not limited to: the
chemical analysis of PCBs, including
analyses to determine PCB concentra-
tion; determinations of the physical
properties of PCBs; studies of environ-
mental transport processes; studies of
biochemical transport processes; stud-
ies of effects of PCBs on the environ-
ment; and studies of the health effects
of PCBs, including direct toxicity and
toxicity of metabolic products of PCBs.
Authorized R&D activities do not in-
clude research, development, or anal-
ysis for the development of any PCB
product. Any person conducting R&D

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activities under this section is also re-
sponsible for determining and com-
plying with all other applicable Fed-
eral, State, and local laws and regula-
tions. Although the use of PCBs and
PCBs in analytical reference samples
derived from waste material is author-
ized in conjunction with PCB-disposal
related activities, R&D for PCB dis-
posal (as defined under §761.3) is ad-
dressed in §761.60(j). PCBs and PCBs in
analytical reference samples derived
from waste materials are authorized
for use, in a manner other than a to-
tally enclosed manner, provided that:

(1) They obtain the PCBs and PCBs in
analytical reference samples derived
from waste materials from sources au-
thorized under §761.80 to manufacture,
process, and distribute PCBs in com-
merce and the PCBs are packaged in
compliance with the Hazardous Mate-
rials Regulations at 49 CFR parts 171
through 180.

(2) They store all PCB wastes result-
ing from R&D activities (e.g., spent
laboratory samples, residuals, con-
taminated media such as clothing, etc.)
in compliance with §761.65(b) and dis-
pose of all PCB wastes in compliance
with § 761.64.

(3) [Reserved]

(4) No person may manufacture, proc-
ess, or distribute in commerce PCBs for
research and development unless they
have been granted an exemption to do
so under TSCA section 6(e)(3)(B).

(k) Use in scientific instruments. PCBs
may be used indefinitely in scientific
instruments, for example, in oscilla-
tory flow birefringence and
viscoelasticity instruments for the
study of the physical properties of
polymers, as microscopy mounting
fluids, as microscopy immersion oil,
and as optical liquids in a manner
other than a totally enclosed manner.
No person may manufacture, process,
or distribute in commerce PCBs for use
in scientific instruments unless they
have been granted an exemption to do
so under TSCA section 6(e)(3)(B).

(1) Use in capacitors. PCBs at any con-
centration may be used in capacitors,
subject to the following conditions:

(1) Use conditions. (i) After October 1,
1988, the use and storage for reuse of
PCB Large High Voltage Capacitors
and PCB Large Low Voltage Capacitors

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which pose an exposure risk to food or
feed is prohibited.

(ii) After October 1, 1988, the use of
PCB Large High Voltage Capacitors
and PCB Large Low Voltage Capacitors
is prohibited unless the capacitor is
used within a restricted-access elec-
trical substation or in a contained and
restricted-access indoor installation. A
restricted-access electrical substation
is an outdoor, fenced or walled-in facil-
ity that restricts public access and is
used in the transmission or distribu-
tion of electric power. A contained and
restricted-access indoor installation
does not have public access and has an
adequate roof, walls, and floor to con-
tain any release of PCBs within the in-
door location.

(2) [Reserved]

(m) Use in and servicing of circuit
breakers, reclosers and cabie. PCBs at
any concentration may be used in cir-
cuit breakers, reclosers, and cable and
may be used for purposes of servicing
this electrical equipment (including re-
building) for the remainder of their
useful lives, subject to the following
conditions:

(1) Servicing conditions. (i) Circuit
breakers, reclosers, and cable may be
serviced (including rebuilding) only
with dielectric fluid containing less
than 50 ppm PCB.

Gi) Any circuit breaker, recloser or
cable found to contain at least 50 ppm
PCBs may be serviced only in accord-
ance with the conditions contained in
40 CFR 761.30(h)(2).

(2) [Reserved]

(n)}-(o) [Reserved]

(p) Continued use of porous surfaces
contaminated with PCBs regulated for
disposal by spills of liquid PCBs, (1) Any
person may use porous surfaces con-
taminated by spills of liquid PCBs at
concentrations >10 pg/l00 cm? for the
remainder of the useful life of the sur-
faces and subsurface material if the
following conditions are met:

(i) The source of PCB contamination
is removed or contained to prevent fur-
ther release to porous surfaces.

(ii) If the porous surface is accessible
to superficial surface cleaning:

(A) The double wash rinse procedure
in subpart 8 of this part is conducted
on the surface to remove surface PCBs.

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(B) The treated surface is allowed to
dry for 24 hours.

(iii) After accessible surfaces have
been cleaned according to paragraph
(p)(1)(ii) of this section and for all sur-
faces inaccessible to cleanup:

(A) The surface is completely covered
to prevent release of PCBs with:

(1) Two solvent resistant and water
repellent coatings of contrasting colors
to allow for a visual indication of wear
through or loss of outer coating integ-
rity; or

(2) A solid barrier fastened to the sur-
face and covering the contaminated
area or all accessible parts of the con-
taminated area. Examples of inacces-
sible areas are underneath a floor-
mounted electrical transformer and in
an impassible space between an elec-
trical transformer and a vault wall.

(B) The surface is marked with the
Mi. Mark in a location easily visible to
individuals present in the area; the M.
Mark shall be placed over the encap-
sulated area or the barrier to the en-
capsulated area,

(C) Mi Marks shall be replaced when
worn or illegible.

(2) Removal of a porous surface con-
taminated with PCBs from its location
or current use is prohibited except for
removal for disposal in accordance
with §§761.61 or 761.79 for surfaces con-
taminated by spills, or §761.62 for man-
ufactured porous surfaces.

(q) [Reserved]

(r) Use in and servicing of rectifiers.
Any person may use PCBs at any con-
centration in rectifiers for the remain-
der of the PCBs’ useful life, and may
use PCBs <5) ppm in servicing (includ-
ing rebuilding) rectifiers.

(s) Use of PCBs in air compressor sys-
tems. (1) Any person may use PCBs in
air compressor systems at concentra-
tions <50 ppm.

(2) Any person may use PCBs in air
compressor systems (or components
thereof) at concentrations >50 ppm pro-
vided that:

(i) All free-flowing liquids containing
PCBs 250 ppm are removed from the air
compressor crankcase and the crank-
case-is refilled with non-PCB liquid.

(ii) Other air compressor system
components contaminated with PCBs
250 ppm, are decontaminated in accord-

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ance with §761.79 or disposed of in ac-
cordance with subpart D of this part.

(iii) Air compressor piping with a
nominal inside diameter of <2 inches is
decontaminated by continuous flushing
for 4 hours, at no <300 gallons per hour
(§ 761.79 contains solvent requirements).

(3) The requirements in paragraph
(s)(2) of this section must be completed
by August 30, 1999 or within 1 year of
the date of discovery of PCBs at 250
ppm in the air compressor system,
whichever is later. The EPA Regional
Administrator for the EPA Region in
which an air compressor system is lo-
cated may, at his/her discretion and in
writing, extend this timeframe.

(t) Use of PCBs in other gas or liquid
transmission systems. (1) PCBs are au-
thorized for use in intact and non-leak-
ing gas or liquid transmission systems
at concentrations <50 ppm PCBs.

(2) PCBs are authorized for use at
concentrations 250 ppm in intact and
non-leaking gas or liquid transmission
systems not owned or operated by a
seller or distributor of the gas or liquid
transmitted in the system.

(3) Any person may use PCBs at con-
centrations 250 ppm in intact and non-
leaking gas or liquid transmission sys-
tems, with the written approval of the
Director, National Program Chemicals
Division, subject to the requirements
applicable to natural gas pipeline sys-
tems at paragraphs  (i)(1)(iii)(A),
@ Malic) through (i)(Gii)(E), and
(i)(2) through (i)(5) of this section.

(ua) Use of decontaminated materials, (1)
Any person may use equipment, struc-
tures, other non-liquid or liquid mate-
rials that were contaminated with
PCBs during manufacture, use, serv-
icing, or because of spills from, or prox-
imity to, PCBs 250 ppm, including
those not otherwise authorized for use
under this part, provided:

Gi) The materials were decontami-
nated in accordance with:

(A) A TSCA PCB disposal approval
issued under subpart D of this part;

(B) Section 761.79; or

(C) Applicable EPA PCB spill cleanup
policies (e.g., TSCA, RCRA, CERCLA,
EPA regional) in effect at the time of
the decontamination; or

(ii) If not previously decontaminated,
the materials now meet an applicable
decontamination standard in §761.79(b).

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(2) No person shall use or reuse mate-
rials decontaminated in accordance
with paragraph (u)(1)(i) of this section
or meeting an applicable decontamina-
tion standard in paragraph (u)(1)(ii) of
this section, in direct contact with
food, feed, or drinking water unless
otherwise allowed under this section or
this part.

(3) Any person may use water con-
taining PCBs at concentrations <0.5ug/
L PCBs without restriction.

(4) Any person may use water con-
taining PCBs at concentrations <200 pg/
L (i.e., <200 ppb PCBs) for non-contact
use in a closed system where there are
no releases (e.g., aS @ non-contact cool-
ing water).

(Sec. 6, Pub. L. 94-469, 90 Stat. 2020, 2025 (15
U.S.C. 2605)

[44 FR 31542, May 31, 1979. Redesignated at 47
FR 19527, May 6, 1982]

EDITORIAL NOTE: For FEDERAL REGISTER ci-
tations affecting §761.30, see the List of CFR
Sections Affected, which appeara in the
Finding Aids section of the printed volume
and at www.govinfo.gov.

§761.35 Storage for reuse.

(a) The owner or operator of a PCB
Article may store it for reuse in an
area which is not designed, con-
structed, and operated in compliance
with §761.65(b), for no more than 5
years after the date the Article was
originally removed from use (e.g., dis-
connected electrical equipment) or 5
years after August 28, 1998, whichever
is later, if the owner or operator com-
plies with the following conditions:

() Follows all use requirements at
§761.30 and marking requirements at
subpart C of this part that are applica-
ble to the PCB Article.

(2) Maintains records starting at the
time the PCB Article is removed from
use or August 28, 1998. The records
must indicate:

(i) The date the PCB Article was re-
moved from use or August 28, 1998, if
the removal date is not known.

(ii) The projected location and the fu-
ture use of the PCB Article.

(iii) If applicable, the date the PCB
Article is scheduled for repair or serv-
icing.

(b) The owner or operator of a PCB
Article may store it for reuse in an
area that does not comply with

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§761.65(b) for a period longer than 5
years, provided that the owner or oper-
ator has received written approval
from the EPA Regional Administrator
for the Region in which the PCB Arti-
cle is stored. An owner or operator of a
PCB Article seeking approval to extend
the 5-year period must submit a re-
quest for extension to the EPA Re-
gional Administrator at least 6 months
before the 5-year storage for reuse pe-
riod expires and must include an item-
by-item justification for the desired ex-
tension. The EPA Regional Adminis-
trator may include any conditions to
such approval deemed necessary to pro-
tect health or the environment. The
owner or operator of the PCB Article
being stored for reuse must comply
with the other applicable provisions of
this part, including the record reten-
tion requirements at §761.180(a).

(c) Any person may store a PCB Arti-
cle for reuse indefinitely in:

(1) A unit in compliance with
§'761.65(b).

(2) A unit permitted under section
3004 of RCRA to manage hazardous
wastes in containers.

(3) A unit permitted by a State au-
thorized under section 3006 of RCRA to
manage hazardous waste.

(63 FR 35443, June 29, 1998]

Subpart C—Marking of PCBs and
PCB Items

§761.40 Marking requirements.

(a) Each of the following items in ex-
istence on or after July 1, 1978 shall be
marked as illustrated in Figure 1 in
§761.45(a): The mark illustrated in Fig-
ure 1 is referred to as M. throughout
this subpart.

(1) PCB Containers;

(2) PCB Transformers at the time of
manufacture, at the time of distribu-
tion in commerce if not already
marked, and at the time of removal
from use if not already marked. [Mark-
ing of PCB-Contaminated Electrical
Equipment is not required];

(3) PCB Large High Voltage Capaci-
tors at the time of manufacture, at the
time of distribution in commerce if not
already marked, and at the time of re-
moval from use if not already marked;

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(4) Equipment containing a PCB
Transformer or a PCB Large High Volt-
age Capacitor at the time of manufac-
ture, at the time of distribution in
commerce if not already marked, and
at the time of removal of the equip-
ment from use if not already marked;

(5) PCB Large Low Voltage Capaci-
tors at the time of removal from use
(see also paragraph (k) of this section).

(6) Electric motors using PCB cool-
ants (See also paragraph (e) of this sec-
tion).

(7) Hydraulic systems using PCB hy-
draulic fluid (See also paragraph (e) of
this section);

(8) Heat transfer systems (other than
PCB Transformers) using PCBs (See
also paragraph (e) of this section);

(9) PCB Article Containers con-
taining articles or equipment that
must be marked under paragraphs (a)
(1) through (8) of this section;

(10) Each storage area used to store
PCBs and PCB Items for disposal.

(b) As of October 1, 1978, each trans-
port vehicle loaded with PCB Con-
tainers that contain more than 45 kg
(99.4 lbs.) of liquid PCBs at concentra-
tions of 250 ppm or with one or more
PCB Transformers shall be marked on
each end and each side with the Mi
mark as described in §761,45(a).

(c) As of January 1, 1979, the fol-
lowing PCB Articles shall be marked
with mark M. as_ described in
§761.45(a):

(1) All PCB Transformers not marked
under paragraph (a) of this section
(marking of PCB-Contaminated Elec-
trical Equipment is not required];

(2) All PCB Large High Voltage Ca-
pacitors not marked under paragraph
(a) of this section

(i) Will be marked individually with
mark M1, or

(ii) If one or more PCB Large High
Voltage Capacitors are installed in a
protected location such as on a power
pole, or structure, or behind a fence;
the pole, structure, or fence shall be
marked with mark M_, and a record or
procedure identifying the PCB Capaci-
tors shall be maintained by the owner
or operator at the protected location.

(d) As of January 1, 1979, all PCB
Equipment containing a PCB Small Ca-
pacitor shall be marked at the time of
manufacture with the statement, ‘‘This

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equipment contains PCB Capacitor(s)’’.
The mark shall be of the same size as
the mark M,.

(e) As of October 1, 1979, applicable
PCB Items in paragraphs (a)(1), (a)(6),
(a)(7), and (a)(8) of this section con-
taining PCBs in concentrations of 50 to
500 ppm shall be marked with the M.
mark as described in §761.45(a).

(f) Where mark Mz is specified but
the PCB Article or PCB Equipment is
too small to accomodate the smallest
permissible size of mark M., mark Ms
as described in §761.45(b), may be used
instead of mark Mu.

(g) Each large low voltage capacitor,
each small capacitor normally used in
alternating current circuits, and each
fluorescent light ballast manufactured
(“‘manufactured”’, for purposes of this
sentence, means built) between July 1,
1978 and July 1, 1998 that do not con-
tain PCBs shall be marked by the man-
ufacturer at the time of manufacture
with the statement, ‘‘No PCBs”. The
mark shall be of similar durability and
readability as other marking that indi-
cate electrical information, part: num-
bers, or the manufacturer’s name. For
purposes of this paragraph marking re-
quirement only is applicable to items
built domestically or abroad after June
30, 1978.

(h) All marks required by this sub-
part must be placed in a position on
the exterior of the PCB Items, storage
units, or transport vehicles so that the
marks can be easily read by any per-
sons inspecting or servicing the
marked PCE Items, storage units, or
transport vehicles,

qd) Any chemical substance or mix-
ture that is manufactured after the ef-
fective date of this rule and that con-
tains less than 500 ppm PCB (0.05% on
a dry weight basis), including PCB that
is a byproduct or impurity, must be
marked in accordance with any re-
quirements contained in the exemption
granted by EPA to permit such manu-
facture and is not subject to any other
requirement in this subpart unless so
specified in the exemption. This para-
graph applies only to containers of
chemical substances or mixtures. PCB
articles and equipment into which the
chemical substances or mixtures are
processed, are subject to the marking

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requirements contained elsewhere in
this subpart.

G) PCB Transformer locations shall
be marked as follows:

(1) Except as provided in paragraph
(j)(2) of this section, as of December 1,
1985, the vault door, machinery room
door, fence, hallway, or means of ac-
cess, other than grates and manhole
covers, to a PCB Transformer must be
marked with the mark M, as required
by paragraph (a) of this section.

(2) A mark other than the M, mark
may be used provided all of the fol-
lowing conditions are met:

(i) The program using such an alter-
native mark was initiated prior to Au-
gust 15, 1985, and can be substantiated
with documentation.

di) Prior to August 15, 1985, coordina-
tion between the transformer owner
and the primary fire department oc-
curred, and the primary fire depart-
ment knows, accepts, and recognizes
what the alternative mark means, and
that this can be substantiated with
documentation.

(iii) The EPA Regional Adminis-
trator in the appropriate region is in-
formed in writing of the use of the al-
ternative mark by October 3, 1988 and
is provided with documentation that
the program began before August 15,
1985, and documentation that dem-
onstrates that prior to that date the
primary fire department knew, accept-
ed and recognized the meaning of the
mark, and included this information in
firefighting training.

(iv) The Regional Administrator will
either approve or disapprove in writing
the use of an alternative mark within
30 days of receipt of the documentation
of a program.

(3) Any mark placed in accordance
with the requirements of this section
must be placed in the locations de-
scribed in paragraph (j)(1) of this sec-
tion and in a manner that can be easily
read by emergency response personnel
fighting a fire involving this equip-
ment.

(zk) As of April 26, 1999 the following
PCB Items shall be marked with the
M, mark as described in §761.45(a):

(1) All PCB Large Low Voltage Ca-
pacitors not marked under paragraph
(a) of this section shall be marked indi-
vidually, or if one or more PCB Large

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Low Voltage Capacitors are installed
in a protected location such as on a
power pole, or structure, or behind a
fence, then the owner or operator shall
mark the pole, structure, or fence with
the M: mark, and maintain a record or
procedure identifying the PCB Capaci-
tors at the protected location. PCB
Large Low Voltage Capacitors in inac-
cessible locations inside equipment
need not be marked individually, pro-
vided the owner or operator marks the
equipment in accordance with para-
graph (k)(2) of this section, and marks
the individual capacitors at the time of
removal from use in accordance with
paragraph (a) of this section.

(2) All equipment not marked under
paragraph (a) of this section containing
a PCB Transformer or a PCB Large
High or Low Voltage Capacitor.

()0)) All voltage regulators which
contain 1.36 kilograms (3 lbs.) or more
of dielectric fluid with a PCB con-
centration of 2500 ppm must be marked
individually with the M,; mark as de-
scribed in §761.45(a).

(2) Locations of voltage regulators
which contain 1.386 kilograms (3 lbs.) or
more of dielectric fluid with a PCB
concentration of 2500 ppm shall be
marked as follows: The vault door, ma-
chinery room door, fence, hallway, or
means of access, other than grates or
manhole covers, must be marked with
the M, mark as described in §761.45(a).

(44 FR 31542, May 31, 1979. Redesignated at 47
FR 19527, May 6, 1982, and amended at 47 FR
37359, Aug. 25, 1982; 50 FR 29201. July 17, 1985;
50 FR 32176, Aug. 9, 1985; 53 FR 12624, Apr. 15,
1988; 53 FR 27329, July 19, 1988; 63 FR 35443,
June 29, 1998; 64 FR 33760, June 24, 1999)

§761.45 Marking formats.

The following formats shall be used
for marking:

(a) Large PCB Mark—M,. Mark M,
shall be as shown in Figure l, letters
and striping on a white or yellow back-
ground and shall be sufficiently dura-
ble to equal or exceed the life (includ-
ing storage for disposal) of the PCB Ar-
ticle, PCB Equipment, or PCB Con-
tainer. The size of the mark shall be at
least 15.25 cm (6 inches) on each side. If
the PCB Article or PCB Equipment is
too small to accommodate this size,

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the mark may be reduced in size pro-
portionately down to a minimum of 5
cm (2 inches) on each side.

(b) Smali PCB Mark—M,. Mark M,
shall be as shown in Figure 2, letters
and striping on a white or yellow back-
ground, and shall be sufficiently dura-
ble to equal or exceed the life (includ-
ing storage for disposal) of the PCB Ar-
ticle, PCB Equipment, or PCB Con-
tainer. The mark shall be a rectangle
2.5 by 5 cm (1 inch by 2 inches). If the
PCB Article or PCB Equipment is too
small to accommodate this size, the
mark may be reduced in size propor-
tionately down to a minimum of 1 by 2
cm (.4 by .8 inches).

SEGA SE SANE

CAUTION
CONTAINS

| _PoBs

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Q Coos National Resporse Center:
424-5002

Tel, No.

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SSR NE MS Hh

Figure 1
CAUTION comes PCBs}
(Pelychlerinated Biphenyis)

FOR PROPER DISPOSAL INFORMATION
CONTACT US ENVIRONMENTAL
PROTECTION AGENCY :
Figure 2

(44 FR 31542, May 31, 1979. Redesignated at 47
FR 19527, May 6, 1982]

Subpart D—Storage and Disposal

$761.50 Applicability.

(a) General PCB disposal requirements.
Any person storing or disposing of PCB
waste must do so in accordance with
subpart D of this part. The following

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prohibitions and conditions apply to all
PCB waste storage and disposal:

(1) No person may open burn PCBs.
Combustion of PCBs approved under
§'761.60 (a) or (e), or otherwise allowed
under part 761, is not open burning.

(2) No person may process liquid
PCBs into non-liquid forms to cir-
cumvent the high temperature inciner-
ation requirements of §761.60(a).

(3) No person may discharge water
containing PCBs to a treatment works
(as defined §503.9(aa) of this chapter) or
to navigable waters unless the PCB
concentration is <3 je/L (approxi-
mately 3 ppb), or unless the discharge
is in accordance with a PCB discharge
limit included in a permit issued under
section 307(b) or 402 of the Clean Water
Act.

(4) Spills and other uncontrolled dis-
charges of PCBs at concentrations of
250 ppm constitute the disposal of
PCBs.

(5) Any person land disposing of non-
liquid PCBs may avoid otherwise-appli-
cable sampling requirements by pre-
suming that the PCBs disposed of are
2500 ppm (or 2100 wg/100 cm? if no free-
flowing liquids are present).

(6) Any person storing or disposing of
PCBs is also responsible for deter-
mining and complying with all other
applicable Federal, State, and local
laws and regulations.

(bo) PCB waste—(1) PCB liquids. Any
person removing PCB liquids from use
(i.e., not PCB remediation waste) must
dispose of them in accordance with
§761.60(a), or decontaminate them in
accordance with § 761.79.

(2) PCB Items. Any person removing
from use a PCB Item containing an in-
tact and non-leaking PCB Article must
dispose of it in accordance with
§761.60(b), or decontaminate it in ac-
cordance with §761.79. PCB Items where
the PCB Articles are no longer intact
and non-leaking are regulated for dis-
posal as PCB bulk product waste under
§761.62(a) or (c).

(i) Fluorescent light ballasts con-
taining PCBs only in an intact and
non-leaking PCB Small Capacitor are
regulated for disposal under
§761.60(b)(2)(ii).

(ii) Fluorescent light ballasts con-
taining PCBs in the potting material

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are regulated for disposal as PCB bulk
product waste under § 761.62.

(3) PCB remediation waste. PCB reme-
diation waste, including PCB sewage
sludge, is regulated for cleanup and dis-
posal in accordance with § 761.61.

Gi) Any person responsible for PCB
waste at as-found concentrations 250
ppm that was either placed in a land
disposal facility, spilled, or otherwise
released into the environment prior to
April 18, 1978, regardless of the con-
centration of the spill or release; or
placed in a land disposal facility,
spilled, or otherwise released into the
environment on or after April 18, 1978,
but prior to July 2, 1979, where the con-
centration of the spill or release was
250 ppm but <500 ppm, must dispose of
the waste as follows:

(A) Sites containing these wastes are
presumed not to present an unreason-
able risk of injury to health or the en-
vironment from exposure to PCBs at
the site. However, the EPA Regional
Administrator may inform the owner
or operator of the site that there is
reason to believe that spills, leaks, or
other uncontrolled releases or dis-
charges, such as leaching, from the site
constitute ongoing disposal that may
present an unreasonable risk of injury
to health or the environment from ex-
posure to PCBs at the site, and may re-
quire the owner or operator to generate
data necessary to characterize the risk.
If after reviewing any such data, the
EPA Regional Administrator makes a
finding, that an unreasonable risk ex-
ists, then he or she may direct the
owner or operator of the site to dispose
of the PCB remediation waste in ac-
cordance with §761.61 such that an un-
reasonable risk of injury no longer ex-
ists.

(B) Unless directed by the EPA Re-
gional Administrator to dispose of PCB
waste in accordance with paragraph
(b)(3)(i)(A) of this section, any person
responsible for PCB waste at as-found
concentrations 250 ppm that was either
placed in a land disposal facility,
spilled, or otherwise released into the
environment prior to April 18, 1978, re-
gardless of the concentration of the
spill or release; or placed in a land dis-
posal facility, spilled, or otherwise re-
leased into the environment on or after
April 18, 1978, but prior to July 2, 1979,

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where the concentration of the spill or
release was 250 ppm but <500 ppm, who
unilaterally decides to dispose of that
waste (for example, to obtain insurance
or to sell the property), is not required
to clean up in accordance with §761.61.
Disposal of the PCB remediation waste
must comply with §761.61. However,
cleanup of those wastes that is not in
complete compliance with §761.61 will
not afford the responsible party with
relief from the applicable PCB regula-
tions for that waste.

(ii) Any person responsible for PCB
waste at as-found concentrations 250
ppm that was either placed in a land
disposal facility, spilled, or otherwise
released into the environment on or
after April 18, 1978, but prior to July 2,
1979, where the concentration of the
spill or release was 2500 ppm; or placed
in a land disposal facility, spilled, or
otherwise released into the environ-
ment on or after July 2, 1979, where the
concentration of the spill or release
was 250 ppm, must dispose of it in ac-
cordance with either of the following:

(A) In accordance with the PCB Spill
Cleanup Policy (Policy) at subpart G of
this part, for those PCB remediation
wastes that meet the criteria of the
Policy. Consult the Policy for a de-
scription of the spills it covers and its
notification and timing requirements.

(B) In accordance with §761.61. Com-
plete compliance with §761.61 does not
create a presumption against enforce-
ment action for penalties for any unau-
thorized PCB disposal.

(iii) The owner or operator of a site
containing PCB remediation waste has
the burden of proving the date that the
waste was placed in a land disposal fa-
cility, spilled, or otherwise released
into the environment, and the con-
centration of the original spill.

(4) PCB bulk product waste—({i) Gen-
eral. Any person disposing of PCB bulk
product waste must do so in accord-
ance with §761.62. PCB bulk product
waste, as that term is defined in §1761.3,
is waste that was 250 ppm when origi-
nally removed from service, even if its
current PCB concentration is <50 ppm.
PCB bulk product waste is regulated
for disposal based on the risk from the
waste once disposed of. For waste
which is land disposed, the waste is
regulated based on how readily the

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waste is released from disposal to the
environment, in particular by leaching
out from the land disposal unit.

(ii) Metal surfaces in contact with
PCBs. Any person disposing of metal
surfaces in contact with PCBs (e.g.,
painted metal) may use thermal decon-
tamination procedures in accordance
with §761.79(c)(6) (see §761.62(a)(6)).

(5) PCB household waste. Any person
storing or disposing of PCB household
waste, as that term is defined in §761.3,
must do so in accordance with §'761.63.

(6) PCB research and development
waste. Any person disposing of PCB
wastes generated during and as a result
of research and development for use
under §761.30(j), or for disposal under
§761.60(j), must do so in accordance
with §761.64.

(7) PCB/Radioactive waste. (i) Any per-
son storing PCB/radioactive waste 250
ppm PCBs must do so taking into ac-
count both its PCB concentration and
its radioactive properties, except as
provided in §761.65(a)(1), (b)(1)(ii), and
(c)(6)@).

(ii) Any person disposing of PCB/ra-
dioactive waste must do so taking into
account both its PCB concentration
and its radioactive properties. If, tak-
ing into account only the properties of
the PCBs in the waste (and not the ra-
dioactive properties of the waste), the
waste meets the requirements for dis-
posal in a facility permitted, licensed,
or registered by a State as a municipal
or non-municipal non-hazardous waste
landfill (e.g., PCB bulk product waste
under §761.62(b)(1)), then the person
may dispose of the PCB/radioactive
waste, without regard to the PCB com-
ponent of the waste, on the basis of its
radioactive properties in accordance
with all applicable requirements for
the radioactive component of the
waste. ‘

(8) Porous surfaces. In most cases a
person must dispose of porous surfaces
as materials where PCBs have pene-
trated far beneath the surface, rather
than a simple surface contamination.
Any person disposing of porous sur-
faces on which PCBs have been spilled
and meeting the definition of PCB re-
mediation waste at §761.3 must do so in
accordance with §1761.61. Any person
disposing of porous surfaces which are
part of manufactured non-liquid prod-

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ucts containing PCBs and meeting the
definition of PCB bulk product waste
at §761.3 must do so in accordance with
§761.62. Any person may decontaminate
concrete surfaces upon which PCBs
have been spilled in accordance with
§761.79(b)(4), if the decontamination
procedure is commenced within 172
hours of the initial spill of PCBs to the
concrete or portion thereof being de-
contaminated, Any person may decon-
taminate porous non-liqguid PCBs in
contact with non-porous surfaces, such
as underground metal fuel tanks coat-
ed with fire retardant resin or pitch,
for purposes of unrestricted use or dis-
posal in a smelter in accordance with
§ 761.79(b)(3),

(c) Storage for disposal. Any person
who holds PCB waste must store it in
accordance with § 761.65.

(d) Performance specifications for dis-
posal technologies—(1) Incinerators. Any
person using an incinerator to dispose
of PCBs must use an incinerator that
meets the criteria set forth in §761.70.

(2) High efficiency boilers. Any person
using a high efficiency boiler to dispose
of PCBs must use a boiler that meets
the criteria set forth in §761.71.

(3) Scrap metal recovery ovens and
smelters. Any person using scrap metal
recovery ovens and smelters to dispose
of PCBs must use a device that meets
the criteria set forth in §761.72.

(4) Chemical waste landfills. Any per-
son using a chemical waste landfill to
dispose of PCBs must use a chemical
waste landfill that meets the criteria
set forth in § 761.75.

(e) TSCA PCB Coordinated Approval.
Any person seeking a TSCA PCB Co-
ordinated Approval must follow the
procedures set forth in § 761.77.

(63 FR 35444, June 29, 1998, as amended at 64
FR 33760, June 24, 1999]

$761.60 Disposal requirements.

(a) PCB liquids. PCB liquids at con-
centrations 250 ppm must be disposed
of in an incinerator which complies
with §761.70, except that PCB liquids at
concentrations 250 ppm and <500 ppm
may be disposed of as follows:

(1) For mineral oil dielectric fluid, in
a high efficiency boiler according to
§761.71(a).

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(2) For liquids other than mineral oil
dielectric fluid, in a high efficiency
boiler according to §761.71(b).

(3) For liquids from incidental
sources, such as precipitation, con-
densation, leachate or load separation
and are associated with PCB Articles
or non-liquid PCB wastes, in a chem-
ical waste landfill which complies with
§ 761.75 if:

(i) [Reserved]

(ii) Information is provided to or ob-
tained by the owner or operator of the
chemical waste landfill that shows that
the liquids do not exceed 500 ppm PCB
and are not an ignitable waste as de-
scribed in §761.75(b)(8)(iii).

(b) PCB Articles. This paragraph does
not authorize disposal that is other-
wise prohibited in § 761.20 or elsewhere
in this part.

(1) Transformers. (i) PCB Trans-
formers shall be disposed of in accord-
ance with either of the following:

(A) In an incinerator that complies
with §761.70; or

(B) In a chemical waste landfill ap-
proved under §761.75; provided that all
free-flowing liquid is removed from the
transformer, the transformer is filled
with a solvent, the transformer is al-
lowed to stand for at least 18 contin-
uous hours, and then the solvent is
thoroughly removed. Any person dis-
posing of PCB liquids that are removed
from the transformer (including the di-
electric fluid and all solvents used as a
flush), shall do so in an incinerator
that complies with §761.70 of this part,
or shall decontaminate them in accord-
ance with §761.79. Solvents may include
kerosene, xylene, toluene, and other
solvents in which PCBs are readily
soluble. Any person disposing of these
PCB liquids must ensure that the sol-
vent flushing procedure is conducted in
accordance with applicable safety and
health standards as required by Fed-
eral or State regulations.

(ii) [Reserved]

(2) PCB Capacitors. (i) The disposal of
any capacitor shall comply with all re-
quirements of this subpart unless it is
known from label or nameplate infor-
mation, manufacturer's literature (in-
cluding documented communications
with the manufacturer), or chemical
analysis that the capacitor does not
contain PCBs.

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(ii) Any person may dispose of PCB
Small Capacitors as municipal solid
waste, unless that person is subject to
the requirements of paragraph (b)(2)(iv)
of this section.

(iii) Any PCB Large High or Low
Voltage Capacitor which contains 500
ppm or greater PCBs, owned by any
person, shall be disposed of in accord-
ance with either of the following:

(A) Disposal in an incinerator that
complies with § 761.70; or

(B) Until March 1, 1981, disposal in a
chemical waste landfill that complies
with § 761.75.

(iv) Any person who manufactures or
at any time manufactured PCB Capaci-
tors or PCB Equipment, and acquired
the PCB Capacitor in the course of
such manufacturing, shall place the
PCB Small Capacitors in a container
meeting the DOT packaging require-
ments at 49 CFR parts 171 through 180
and dispose of them in accordance with
either of the following:

(A) Disposal in an incinerator which
complies with § 761.70; or

(B) Until March 1, 1981, disposal in a
chemical waste landfill which complies
with § 761.75.

(v) Notwithstanding the restrictions
imposed by paragraph (b)(2)(iii)(B) or
(b)(2)(iv)(B) of this section, PCB capaci-
tors may be disposed of in PCB chem-
ical waste landfills that comply with
§761.75 subsequent to March 1, 1981, if
EPA publishes a notice in the FEDERAL
REGISTER declaring that those landfills
are available for such disposal and ex-
plaining the reasons for the extension
or reopening. An extension or reopen-
ing for disposal of PCB capacitors that
is granted under this subsection shall
be subject to such terms and conditions
as the Assistant Administrator may
prescribe and shall be in effect for such
period as the Assistant Administrator
may prescribe. EPA may permit dis-
posal of PCB capacitors in HPA-ap-
proved chemical waste landfills after
March 1, 1981, if in its opinion,

(A) Adequate incineration capability
for PCB capacitors is not available, or

(B) The incineration of PCB capaci-
tors will significantly interfere with
the incineration of liquid PCBs, or

(C) There is other good cause shown.

As part of this evaluation, the Assist-
ant Administrator will consider the

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impact of his action on the incentives
to construct or expand PCB inciner-
ators.

(vi) Any person disposing of large
PCB capacitors or small PCB capaci-
tors described in paragraph (b)(2)(iv) of
this section in a chemical waste land-
fill approved under §1761.75, shall first
place them in a container meeting the
DOT packaging requirements at 49 CFR
parts 171 through 180. In all cases, the
person must fill the interstitial space
in the container with sufficient absorb-
ent material (such as soil) to absorb
any liquid PCBs remaining in the ca-
pacitors.

(3) PCB hydraulic machines. Gj) Any
person disposing of PCB hydraulic ma-
chines containing PCBs at concentra-
tions of 250 ppm, such as die casting
machines, shall do so by one of the fol-
lowing methods:

(A) In accordance with § 761.79.

(B) In a facility which is permitted,
licensed, or registered by a State to
manage municipal solid waste subject
to part 258 of this chapter or non-mu-
nicipal non-hazardous waste subject to
§§ 257.5 through 257.30 of this chapter, as
applicable (excluding thermal treat-
ment units),

(C) In a scrap metal recovery oven or
smelter operating in compliance with
§ 761.72.

(D) In a disposal facility approved
under this part.

(ii) All free-flowing liquid must be re-
moved from each machine and the lig-
uid must be disposed of in accordance
with the provisions of paragraph (a) of
this section. If the PCB liquid contains
21,000 ppm PCR, then the hydraulic ma-
chine must be decontaminated in ac-
cordance with §761.79 or flushed prior
to disposal with a solvent listed at
paragraph (b)(1)(i)(B) of this section
which contains <50 ppm PCB. The sol-
vent must be disposed of in accordance
with paragraph (a) of this section or
§761.79.

(4) PCB-Contaminated Electrical Equip-
ment. Any person disposing of PCB-
Contaminated Hlectrical Equipment,
except capacitors, shall do so in ac-
cordance with paragraph (b)(6)(ii)(A) of
this section. Any person disposing of
Large Capacitors that contain >50 ppm
but <500 ppm PCBs shall do so in a dis-
posal facility approved under this part.

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(5) Natural gas pipeline systems con-
taining PCBs. The owner or operator of
natural gas pipeline systems con-
taining 250 ppm PCBs, when no longer
in use, shall dispose of the system ei-
ther by abandonment in place of the
pipe under paragraph (b)(5)(i) of this
section or removal with subsequent ac-
tion under paragraph (b)(5)(ii) of this
section. Any person determining the
PCB concentrations in natural gas
pipeline systems shall do so in accord-
ance with paragraph (b)(5)(iii) of this
section.

(i) Abandonment. Natural gas pipe
containing 250 ppm PCBs may be aban-
doned in place under one or more of the
following provisions:

(A) Natural gas pipe having a nomi-
nal inside diameter of <4 inches, and
containing PCBs at any concentration
but no free-flowing liquids, may be
abandoned in the place it was used to
transport natural gas if each end is
sealed closed and the pipe is either:

(7) Included in a public service notifi-
cation program, such as a ‘“‘one-call’”
system under 49 CFR 192.614(a) and (b).

(2) Filled to 50 percent or more of the
volume of the pipe with grout (such as
a hardening slurry consisting of ce-
ment, bentonite, or clay) or high den-
sity polyurethane foam.

(B) PCB-Contaminated natural gas
pipe of any diameter, where the PCB
concentration was determined after the
last transmission of gas through the
pipe or at the time of abandonment,
that contains no free-flowing liquids
may be abandoned in the place it was
used to transport natural gas if each
end is sealed closed.

(C) Natural gas pipe of any diameter
which contains PCBs at any concentra-
tion but no free-flowing liquids, may be
abandoned in the place it was used to
transport natural gas, if each end is
sealed closed, and either:

(1) The interior surface is decontami-
nated with one or more washes of a sol-
vent in accordance with the use and
disposal requirements of §761.79(d).
This decontamination process must re-
sult in a recovery of 95 percent of the
solvent volume introduced into the
system, and the PCB concentration of
the recovered wash must be <50 ppm
(see §761.79(a)(1) for requirements on

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use and disposal of decontaminating
fluids).

(2) The pipe is filled to 50 percent or
more of the volume of the pipe with
grout (such as a hardening slurry-like
cement, bentonite, or clay) or high
density polyurethane foam (except that
only cement shall be used as grout
under rivers or streams) and each end
is sealed closed.

(D) Natural gas pipe of any diameter
which contains PCBs at any concentra-
tion may be abandoned in place after
decontamination in accordance with
§761.79(c)(3), (c)(4) or (h) or a PCB dis-
posal approval] issued under §761.60(e)
or §761.61(c).

(il) Removal with subsequent action.
Natural gas pipeline systems may be
disposed of under one of the following
provisions:

(A) The following classifications of
natural gas pipe containing no free-
flowing liquids may be disposed of in a
facility permitted, licensed, or reg-
istered by a State to manage municipal
solid waste subject to part 258 of this
chapter or non-municipal non-haz-
ardous waste subject to §§ 257.5 through
257.30 of this chapter, as applicable (ex-
cluding thermal treatment units); a
scrap metal recovery oven or smelter
operating in compliance with the re-
quirements of §761.72; or a disposal fa-
cility approved under this part:

(1) PCB-Contaminated natural gas
pipe of any diameter where the PCB
concentration was determined after the
last transmission of gas through the
pipe or during removal from the loca-
tion it was used to transport natural
gas.

(2) Natural gas pipe containing PCBs
at any concentration and having a
nominal inside diameter <4 inches.

(B) Any component of a natural gas
pipeline system may be disposed of
under one of the following provisions:

(7) In an incinerator operating in
compliance with § 761.70.

(2) In a chemical waste landfill oper-
ating in compliance with §761.75, pro-
vided that all free-flowing liquid PCBs
have been thoroughly drained.

(3) As a PCB remediation waste in
compliance with § 761.61.

(4) In accordance with § 761.79.

(iii) Characterization of natural gas
pipeline systems by PCB concentration in

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condensate. (A) Any person disposing of
a natural gas pipeline system under
paragraphs (b)(5)(i)(B) or (b)(5)(ii)(A)T)
of this section must characterize it for
PCB contamination by analyzing or-
ganic liquids collected at existing con-
densate collection points in the natural
gas pipeline system. The level of PCB
contamination found at a collection
point is assumed to extend to the next
collection point downstream. If no or-
ganic liquids are present, drain free-
flowing liquids and collect standard
wipe samples according to subpart M of
this part. Collect condensate within 72
hours of the final transmission of nat-
ural gas through the part of the system
to be abandoned or removed. Collect
wipe samples after the last trans-
mission of gas through the pipe or dur-
ing removal from the location it was
used to transport natural gas.

(B) PCB concentration of the organic
phase of multi-phasic liquids shall be
determined in accordance with
§ 761.1(b)(4).

(iv) Disposal of pipeline liquids. (A)
Any person disposing of liquids con-
taining PCBs 250 ppm removed, spilled,
or otherwise released from a natural
gas pipeline system must do so in ac-
cordance with §761.61(a)(5)(iv) based on
the PCB concentration at the time of
removal from the system. Any person
disposing of material contaminated by
spills or other releases of PCBs 250 ppm
from a natural gas pipeline system,
must do so in accordance with §761.61
or § 761.79, as applicable.

(B) Any person who markets or burns
for energy recovery liquid containing
PCBs at concentrations <50 ppm PCBs
at the time of removal from a natural
gas pipeline system must do so in ac-
cordance with the provisions per-
taining to used oil at §761.20(e). No
other use of liquid containing PCBs at
concentrations above the quantifiable
level/level of detection removed from a
natural gas pipeline system is author-
ized.

(6) Other PCB Articles. (i) PCB articles
with concentrations at 500 ppm or
greater must be disposed of:

(A) In an incinerator that complies
with § 761.70; or

(B) In a chemical waste landfill that
complies with §761.75, provided that all
free-flowing liquid PCBs have been

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thoroughly drained from any articles
before the articles are placed in the
chemical waste landfill and that the
drained liquids are disposed of in an in-
cinerator that complies with §761.70.

(ii)(A) Except as specifically provided
in paragraphs (b)(1) through (b)(5) of
this section, any person disposing of a
PCB-Contaminated Article must do so
by removing all free-flowing liquid
from the article, disposing of the liquid
in accordance with paragraph (a) of
this section, and disposing of the PCB-
Contaminated Article with no free-
flowing liquid by one of the following
methods:

(1) In accordance with § 761.79.

(2) In a facility permitted, licensed,
or registered by a State to manage mu-
nicipal solid waste subject to part 258
of this chapter or non-municipal non-
hazardous waste subject to §§257.5
through 257.30 of this chapter, as appli-
cable (excluding thermal treatment
units).

(3) In a scrap metal recovery oven or
smelter operating in compliance with
§'761.72.

(4) In a disposal facility approved
under this part.

(B) Storage for disposal of PCB-Con-
taminated Articles from which all free-
flowing liquids have been removed is
not regulated under subpart D of this

part.

(C) Requirements in subparts J and K
of this part do not apply to PCB-Con-
taminated Articles from which all free-
flowing liquids have been removed.

(iii) Fluorescent light ballasts con-
taining PCBs in their potting material
must be disposed of in a TSCA-ap-
proved disposal facility, as bulk prod-
uct waste under §761.62, as household
waste under §761.63 (where applicable),
or in accordance with the decon-
tamination provisions of § 761.79.

(7) Storage of PCB Articles. Except for
a PCB Article described in paragraph
(b)(2)(ii) of this section and hydraulic
machines that comply with the munic-
ipal solid waste disposal provisions de-
scribed in paragraph (b)(3) of this sec-
tion, any PCB Article, with PCB con-
centrations at 50 ppm or greater, shall
be stored in accordance with §761.65
prior to disposal.

(8) Persons disposing of PCB Articles
must wear or use protective clothing or

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equipment to protect against dermal
contact with or inhalation of PCBs or
materials containing PCBs.

(c) PCB Containers. (1) Unless decon-
taminated in compliance with §161.79
or as provided in paragraph (c)(2) of
this section, a PCB container with PCB
concentrations at 500 ppm or greater
shall be disposed of:

(i) In an incinerator which complies
with § 761.70, or

(ii) In a chemical waste landfill that
complies with §761.75; provided that if
there are PCBs in a liquid state, the
PCB Container shall first be drained
and the PCB liquid disposed of in ac-
cordance with paragraph (a) of this sec-
tion.

(2) Any PCB Container used to con-
tain only PCBs at a concentration less
than 500 ppm shall be disposed of as
municipal solid wastes; provided that if
the PCBs are in a liquid state, the PCB
Container shall first be drained and the
PCB liquid shall be disposed of in ac-
cordance with paragraph (a) of this sec-
tion.

(3) Prior to disposal, a PCB container
with PCB concentrations at 50 ppm or
greater shall be stored in a unit which
complies with § 761.65.

(d) [Reserved]

(e) Any person who is required to in-
cinerate any PCBs and PCB items
under this subpart and who can dem-
onstrate that an alternative method of
destroying PCBs and PCB items exists
and that this alternative method can
achieve a level of performance equiva-
lent to an incinerator approved under
§761.70 or a high efficiency boiler oper-
ating in compliance with §761.71, must
submit a written request to the Re-
gional Administrator or the Director,
Office of Resource Conservation and
Recovery, for a waiver from the incin-
eration requirements of §1761.70 or
§761.71. Requests for approval of alter-
nate methods that will be operated in
more than one Region must be sub-
mitted to the Director, Office of Re-
source Conservation and Recovery, ex-
cept for research and development ac-
tivities involving less than 500 pounds
of PCB material (see paragraph (i)(2) of
this section). Requests for approval of

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alternate methods that will be oper-
ated in only one Region must be sub-
mitted to the appropriate EPA Re-
gional Administrator. The applicant
must show that his or her method of
destroying PCBs will not present an
unreasonable risk of injury to health
or the environment. On the basis of
such information and any available in-
formation, EPA may, in its discretion,
approve the use of the alternate meth-
od if it finds that the alternate disposal
method provides PCB destruction
equivalent to disposal in a §1761.60 in-
cinerator or a §761.61 high efficiency
boiler and will not present an unrea-
sonable risk of injury to health or the
environment. Any approval must be
stated in writing and may include such
conditions and provisions as EPA
deems appropriate. The person to
whom such waiver is issued must com-
ply with all limitations contained in
such determination. No person may use
the alternate method of destroying
PCBs or PCB items prior to obtaining
permission from the appropriate EPA
official.

(f)(1) Hach operator of a chemical
waste landfill, incinerator, or alter-
native to incineration approved under
paragraph (e) of this section shall give
the following written notices to the
state and local governments within
whose jurisdiction the disposal facility
is located:

G) Notice at least thirty (80) days be-
fore a facility is first used for disposal
of PCBs required by these regulations;
and

(ii) At the request of any state or
local government, annual notice of the
quantities and general description of
PCBs disposed of during the year. This
annual notice shall be given no more
than thirty (30) days after the end of
the year covered,

(ii) The Regional Administrator may
reduce the notice period required by
paragraph (f)(1)(i) of this section from
thirty days to a period of no less than
five days in order to expedite interim
approval of the chemical waste landfill
located in Sedgwick County, Kansas.

(2) [Reserved]

(g) Testing procedures. (1) Owners or
users Of mineral oil dielectric fluid
electrical equipment may use the fol-
lowing procedures to determine the

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concentration of PCBs in the dielectric
fluid:

(i) Dielectric fluid removed from
mineral oil dielectric fluid electrical
equipment may be collected in a com-
mon container, provided that no other
chemical substances or mixtures are
added to the container. This common
container option does not permit dilu-
tion of the collected oil. Mineral oil
that is assumed or known to contain at
least 50 ppm PCBs must not be mixed
with mineral oil that is known or as-
sumed to contain less than 50 ppm
PCBs to reduce the concentration of
PCBs in the common container. If di-
electric fluid from untested, oil-filled
circuit breakers, reclosers, or cable is
collected in a common container with
dielectric fluid from other oil-filled
electrical equipment, the entire con-
tents of the container must be treated
as PCBs at a concentration of at least
50 ppm, unless all of the fluid from the
other oil-filled electrical equipment
has been tested and shown to contain
less than 50 ppm PCBs.

(ii) For purposes of complying with
the marking and disposal require-
ments, representative samples may be
taken from either the common con-
tainers or the individual electrical
equipment to determine the PCB con-
centration, except that if any PCBs at
a concentration of 500 ppm or greater
have been added to the container or
equipment then the total container
contents must be considered as having
a PCB concentration of 500 ppm or
greater for purposes of complying with
the disposal requirements of this sub-
part. For purposes of this subpara-
graph, representative samples of min-
eral oil dielectric fluid are either sam-
ples taken in accordance with ASTM D
923-86 or ASTM D 923-89 or samples
taken from a container that has been
thoroughly mixed in a manner such
that any PCBs in the container are
uniformly distributed throughout the
liquid in the container,

(iii) Unless otherwise specified in this
part, any person conducting the chem-
ical analysis of PCBs shall do so using
gas chromatography. Any gas
chromatographic method that is appro-
priate for the material being analyzed
may be used, including EPA Method
608, “Organochlorine Pesticides and

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PCBs” at 40 CFR part 136, Appendix
A;" EPA Method 8082, ‘Poly-
chlorinated Biphenyls (PCBs) by Cap-
illary Column Gas Chromatography”’ of
SWw-846, ‘“OSW Test Methods for Evalu-
ating Solid Waste,” which is available
from NTIS; and ASTM Standard D-4059,
“Standard Test Method for Analysis of
Polychlorinated Biphenyls in Insu-

lating Liquids by Gas Chroma-
tography,’’ which is available from
ASTM.

(2) Owners or users of waste oil may
use the following procedures to deter-
mine the PCB concentration of waste
oil:

(i) Waste oil from more than one
source may be collected in a common
container, provided that no other
chemical substances or mixtures, such
as non-waste oils, are added to the con-
tainer.

(ii) For purposes of complying with
the marking and disposal require-
ments, representative samples may be
taken from either the common con-
tainers or the individual electrical
equipment to determine the PCB con-
centration. Except, That if any PCBs at
a concentration of 500 ppm or greater
have been added to the container or
equipment then the total container
contents must be considered as having
a PCB concentration of 500 ppm or
ereater for purposes of complying with
the disposal requirements of this sub-
part. For purposes of this paragraph,
representative samples of mineral oil
dielectric fluid are either samples
taken in accordance with ASTM D 923-
86 or ASTM D 923-89 or samples taken
from a container that has been thor-
oughly mixed in a manner such that
any PCBs in the container are uni-
formly distributed throughout the liq-
uid in the container,

(iii) Unless otherwise specified in this
part, any person conducting the chem-
ical analysis of PCBs shall do so using
gas chromatography. Any gas
chromatographic method that is appro-
priate for the material being analyzed
may be used, including those indicated
in paragraph (@)(1)(iii) of this section.

(h) Requirements for export and im-
port of PCBs and PCB Items for dis-
posal are found in subpart F of this
part.

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(i) Approval authority for disposal
methods, (1) The officials designated in
paragraph (e) of this section and
§761.70(a) and (b) to receive requests for
approval of PCB disposal activities are
the primary approval authorities for
these activities. Notwithstanding, EPA
may, at its discretion, assign the au-
thority to review and approve any as-
pect of a disposal system to the Office
of Land and Emergency Management
or to a Regional Administrator.

(2) Except for activity authorized
under paragraph (j) of this section, re-
search and development (R&D) for PCB
disposal using a total of <500 pounds of
PCB material (regardless of PCB con-
centration) will be reviewed and ap-
proved by the EPA Regional Adminis-
trator for the Region where the R&D
will be conducted, and R&D for PCB
disposal using 500 pounds or more of
PCB material (regardless of PCB con-
centration) will be reviewed and ap-
proved by the EPA.

(j) Self-implementing requirements for
research and development (R&D) for PCB
disposal. (1) Any person may conduct
R&D for PCB disposal without prior
written approval from EPA if they
meet the following conditions:

(i) File a notification and obtain an
EPA identification number pursuant to
subpart K of this part.

(ii) Notify in writing the EPA Re-
gional Administrator, the State envi-
ronmental protection agency, and local
environmental protection agency, hav-
ing jurisdiction where the R&D for
PCB disposal activity will occur at
least 30 days prior to the commence-
ment of any R&D for PCB disposal ac-
tivity conducted under this section,
Each written notification shall include
the EPA identification number of the
site where the R&D for PCB disposal
activities will be conducted, the quan-
tity of PCBs to be treated, the type of
R&D technology to be used, the genera]
physical and chemical properties of
material being treated, and an esti-
mate of the duration of the PCB activ-
ity. The EPA Regional Administrator,
the State environmental protection
agency, and the local environmental
protection agency may waive notifica-
tion in writing prior to commencement
of the research.

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(iii) The amount of material con-
taining PCBs treated annually by the
facility during R&D for PCB disposal
activities does not exceed 500 gallons or
70 cubic feet of liquid or non-liquid
PCBs and does not exceed a maximum
concentration of 10,000 ppm PCBs.

(iv) No more than 1 kilogram total of
pure PCBs per year is disposed of in all
R&D for PCB disposal activities at a
facility.

(v) Each R&D for PCB disposal activ-
ity under this section lasts no more
than 1 calendar year.

(vi) Store all PCB wastes (treated
and untreated PCB materials, testing
samples, spent laboratory samples, re-
siduals, untreated samples, contami-
nated media or instrumentation, cloth-
ing, etc.) in compliance with §161.65(b)
and dispose of them according to the
undiluted PCB concentration prior to
treatment. However, PCB materials
not treated in the R&D for PCB dis-
posal activity may be returned either
to the physical] location where the sam-
ples were collected or a location where
other regulated PCBs from the physical
location where the samples were col-
lected are being stored for disposal.

(vii) Use manifests pursuant to sub-
part K of this part for all R&D PCB
wastes being transported from the R&D
facility to an approved PCB storage or
disposal facility. However, §§61.207
through 761.219 do not apply if the re-
siduals or treated samples are returned
either to the physical location where
the samples were collected or a loca-
tion where other regulated PCBs from
the physical location where the sam-
ples were collected are being stored for
disposal.

(viii) Package and ship all PCB
wastes pursuant to DOT requirements
under 49 CFR parts 171 through 180.

(ix) Comply with the recordkeeping
requirements of § 761.180.

(2) Do not exceed material limita-
tions set out in paragraphs (j)(1) (iii)
and (iv) of this section and the time
limitation set out in paragraph (j)(1)(v)
of this section without prior written
approval from EPA. Requests for ap-
proval to exceed the material limita-
tions for PCBs in R&D for PCB disposal
activities as specified in this section
must be submitted in writing to the
EPA Regional Administrator for the

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Region in which the facility con-
ducting R&D for PCB disposal activi-
ties is located. Hach request shall
specify the quantity or concentration
requested or additional time needed for
disposal and include a justification for
each increase. For extensions to the
duration of the R&D for PCB disposal
activity, the request shall also include
a report on the accomplishments and
progress of the previously authorized
R&D for PCB disposal activity for
which the extension is sought. The
EPA Regional Administrator may
grant a waiver in writing for an in-
crease in the volume of PCB material,
the maximum concentration of PCBs,
the total amount of pure PCBs, or the
duration of the R&D activity. Approv-
als will state all requirements applica-
ble to the R&D for PCB disposal activ-
ity.

(8) The EPA Regional Administrator
for the Region in which an R&D for
PCB disposal activity is conducted may
determine, at any time, that an R&D
PCB disposal approval is required
under paragraphs (e) and (i)(2) of this
section or §'761.70(d) to ensure that any
R&D for PCB disposal activity does not
present an unreasonable risk of injury
to health or the environment.

(Sec. 6, Pub. L. 94-469, 90 Stat. 2020 (15 U.S.C.
2605)
[44 FR 91542, May 31, 1979]

EDITORIAL NOTE: For FEDERAL REGISTER ci-
tations affecting §761.60, see the List of CFR
Sections Affected, which appears in the

Finding Aids section of the printed volume
and at www.govinfo.gov.

§761.61 PCB remediation waste.

This section provides cleanup and
disposal options for PCB remediation
waste. Any person cleaning up and dis-
posing of PCBs managed under this sec-
tion shall do so based on the concentra-
tion at which the PCBs are found. This
section does not prohibit any person
from implementing temporary emer-
gency measures to prevent, treat, or
contain further releases or mitigate
migration to the environment of PCBs
or PCB remediation waste.

(a) Self-implementing on-site cleanup
and disposal of PCB remediation waste.
EPA designed the self-implementing
procedure for a general, moderately-

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sized site where there should be low re-
sidual environmental impact from re-
medial activities. The procedure may
be less practical for larger or environ-
mentally diverse sites. For these other
sites, the self-implementing procedure
still applies, but an EPA Regional Ad-
ministrator may authorize more prac-
tical procedures through paragraph (c)
of this section. Any person may con-
duct self-implementing cleanup and
disposal of PCB remediation waste in
accordance with the following require-
ments without prior written approval
from EPA.

(1) Applicability. (i) The self-imple-
menting procedures may not be used to
clean up:

(A) Surface or ground waters.

(B) Sediments in marine and fresh-
water ecosystems.

(C) Sewers or sewage treatment sys-
tems.

(D) Any private or public drinking
water sources or distribution systems.

(E) Grazing lands.

(F) Vegetable gardens.

(ii) The self-implementing cleanup
provisions shall not be binding upon
cleanups conducted under other au-
thorities, including but not limited to,
actions conducted under section 104 or
section 106 of CERCLA, or section
3004(u) and (v) or section 3008(h) of
RCRA.

(2) Site characterization. Any person
conducting self-implementing cleanup
of PCB remediation waste must charac-
terize the site adequately to be able to
provide the information required by
paragraph (a)(8) of this section. Sub-
part N of this part provides a method
for collecting new site characterization
data or for assessing the sufficiency of
existing site characterization data.

(3) Notification and certification. (i) At
least 30 days prior to the date that the
cleanup of a site begins, the person in
charge of the cleanup or the owner of
the property where the PCB remedi-
ation waste is located shall notify, in
writing, the EPA Regional Adminis-
trator, the Director of the State or
Tribal environmental protection agen-
cy, and the Director of the county or
local environmental protection agency
where the cleanup will be conducted.
The notice shall include:

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(A) The nature of the contamination,
including kinds of materials contami-
nated.

(B) A summary of the procedures
used to sample contaminated and adja-
cent areas and a table or cleanup site
map showing PCB concentrations
measured in all pre-cleanup character-
ization samples. The summary must in-
clude sample collection and analysis
dates. The EPA Regional Adminis-
trator may require more detailed infor-
mation including, but not limited to,
additional characterization sampling
or all sample identification numbers
from all previous characterization ac-
tivities at the cleanup site.

(C) The location and extent of the
identified contaminated area, includ-
ing topographic maps with sample col-
lection sites cross referenced to the
sample identification numbers in the
data summary from paragraph
(a)(3)(i)(B) of this section.

(D) A cleanup plan for the site, in-
cluding schedule, disposal technology,
and approach. This plan should contain
options and contingencies to be used if
unanticipated higher concentrations or
wider distributions of PCB remediation
waste are found or other obstacles
force changes in the cleanup approach.

(E) A written certification, signed by
the owner of the property where the
cleanup site is located and the party
conducting the cleanup, that all sam-
pling plans, sample collection proce-
dures, sample preparation procedures,
extraction procedures, and _  instru-
mental/chemical analysis procedures
used to assess or characterize the PCB
contamination at the cleanup site, are
on file at the location designated in the
certificate, and are available for EPA
inspection. Persons using alternate
methods for chemical extraction and
chemical analysis for site characteriza-
tion must include in the certificate a
statement that such a method will be
used and that a comparison study
which meets or exceeds the require-
ments of subpart Q of this part, and for
which records are on file, has been
completed prior to verification sam-

ing.

(ii) Within 30 calendar days of receiv-
ing the notification, the EPA Regional
Administrator will respond in writing
approving of the self-implementing

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